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           Artist                                 Track                                Reg. No.        Plaintiff
                                                  Airplanes Pt. II (feat. Eminem &                     ATLANTIC RECORDING
         1 B.o.B.                                 Hayley Williams of Paramore)         SR0000704831    CORPORATION
                                                                                       SR0000330247;
         2 The Notorious B.I.G.                   Dead Wrong                           SR0000332455    BAD BOY RECORDS LLC
         3 Bonnie Raitt                           Have A Heart                         SR0000102443    CAPITOL RECORDS, LLC
                                                  I Ain't Gonna Let You Break My
         4 Bonnie Raitt                           Heart Again                          SR0000102443    CAPITOL RECORDS, LLC
         5 Bonnie Raitt                           I Will Not Be Denied                 SR0000102443    CAPITOL RECORDS, LLC
         6 Bonnie Raitt                           Love Letter                          SR0000102443    CAPITOL RECORDS, LLC
         7 Bonnie Raitt                           Nick Of Time                         SR0000102443    CAPITOL RECORDS, LLC
         8 Bonnie Raitt                           Nobody's Girl                        SR0000102443    CAPITOL RECORDS, LLC
         9 Bonnie Raitt                           Real Man                             SR0000102443    CAPITOL RECORDS, LLC
        10 Bonnie Raitt                           Too Soon To Tell                     SR0000102443    CAPITOL RECORDS, LLC
        11 Bonnie Raitt                           Cry On My Shoulder                   SR0000102443    CAPITOL RECORDS, LLC
        12 Darius Rucker                          Come Back Song                       SR0000669904    CAPITOL RECORDS, LLC
        13 Darius Rucker                          I Got Nothin'                        SR0000669902    CAPITOL RECORDS, LLC
        14 Darius Rucker                          In A Big Way                         SR0000669902    CAPITOL RECORDS, LLC
        15 Darius Rucker                          Love Will Do That                    SR0000669902    CAPITOL RECORDS, LLC
        16 Darius Rucker                          Might Get Lucky                      SR0000669902    CAPITOL RECORDS, LLC
        17 Darius Rucker                          She's Beautiful                      SR0000669902    CAPITOL RECORDS, LLC
        18 Darius Rucker                          Southern State Of Mind               SR0000669902    CAPITOL RECORDS, LLC
        19 Darius Rucker                          The Craziest Thing                   SR0000669902    CAPITOL RECORDS, LLC
        20 Darius Rucker                          Things I'd Never Do                  SR0000669902    CAPITOL RECORDS, LLC
        21 Darius Rucker                          This                                 SR0000669902    CAPITOL RECORDS, LLC
        22 Darius Rucker                          We All Fall Down                     SR0000669902    CAPITOL RECORDS, LLC
        23 Darius Rucker                          Whiskey And You                      SR0000669902    CAPITOL RECORDS, LLC
        24 Darius Rucker ft. Brad Paisley         I Don't Care                         SR0000669902    CAPITOL RECORDS, LLC
                                                  A Man Who Was Gonna Die
        25 Eric Church                            Young                                SR0000741478    CAPITOL RECORDS, LLC
        26 Eric Church                            Broke Record                         SR0000741478    CAPITOL RECORDS, LLC
        27 Eric Church                            Cold One                             SR0000741478    CAPITOL RECORDS, LLC
        28 Eric Church                            Country Music Jesus                  SR0000681019    CAPITOL RECORDS, LLC
        29 Eric Church                            Creepin'                             SR0000681019    CAPITOL RECORDS, LLC
        30 Eric Church                            Dark Side                            SR0000741478    CAPITOL RECORDS, LLC
                                                  Devil, Devil (Prelude: Princess Of
        31 Eric Church                            Darkness)                            SR0000741478    CAPITOL RECORDS, LLC
        32 Eric Church                            Drink In My Hand                     SR0000681019    CAPITOL RECORDS, LLC
        33 Eric Church                            Homeboy                              SR0000681020    CAPITOL RECORDS, LLC
        34 Eric Church                            Hungover & Hard Up                   SR0000681019    CAPITOL RECORDS, LLC
        35 Eric Church                            I'm Gettin' Stoned                   SR0000681019    CAPITOL RECORDS, LLC
        36 Eric Church                            Jack Daniels                         SR0000681019    CAPITOL RECORDS, LLC
        37 Eric Church                            Keep On                              SR0000681019    CAPITOL RECORDS, LLC
        38 Eric Church                            Like A Wrecking Ball                 SR0000741478    CAPITOL RECORDS, LLC
        39 Eric Church                            Like Jesus Does                      SR0000681019    CAPITOL RECORDS, LLC
        40 Eric Church                            Over When It's Over                  SR0000681019    CAPITOL RECORDS, LLC
        41 Eric Church                            Roller Coaster Ride                  SR0000741478    CAPITOL RECORDS, LLC
        42 Eric Church                            Springsteen                          SR0000681019    CAPITOL RECORDS, LLC
        43 Eric Church                            Talladega                            SR0000741478    CAPITOL RECORDS, LLC
        44 Eric Church                            That's Damn Rock & Roll              SR0000741478    CAPITOL RECORDS, LLC
        45 Eric Church                            The Joint                            SR0000741478    CAPITOL RECORDS, LLC
        46 Eric Church                            The Outsiders                        SR0000735546    CAPITOL RECORDS, LLC
        47 Katy Perry                             Birthday                             SR0000734382    CAPITOL RECORDS, LLC
        48 Katy Perry                             By The Grace Of God                  SR0000734382    CAPITOL RECORDS, LLC
        49 Katy Perry                             Choose Your Battles                  SR0000734382    CAPITOL RECORDS, LLC
        50 Katy Perry                             Dark Horse                           SR0000734382    CAPITOL RECORDS, LLC
        51 Katy Perry                             Double Rainbow                       SR0000734382    CAPITOL RECORDS, LLC
                                                  E.T. (Johnson Somerset & John
        52 Katy Perry                             Monkman Remix)                       SR0000662268    CAPITOL RECORDS, LLC



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           Artist                                 Track                              Reg. No.        Plaintiff
        53 Katy Perry                             Ghost                              SR0000734382    CAPITOL RECORDS, LLC
        54 Katy Perry                             International Smile                SR0000734382    CAPITOL RECORDS, LLC
        55 Katy Perry                             It Takes Two                       SR0000734382    CAPITOL RECORDS, LLC
        56 Katy Perry                             Legendary Lovers                   SR0000734382    CAPITOL RECORDS, LLC
        57 Katy Perry                             Love Me                            SR0000734382    CAPITOL RECORDS, LLC
        58 Katy Perry                             Spiritual                          SR0000734382    CAPITOL RECORDS, LLC
        59 Katy Perry                             This Is How We Do                  SR0000734382    CAPITOL RECORDS, LLC
        60 Katy Perry                             This Moment                        SR0000734382    CAPITOL RECORDS, LLC
        61 Katy Perry                             Unconditionally                    SR0000734382    CAPITOL RECORDS, LLC
        62 Katy Perry                             Walking On Air                     SR0000734382    CAPITOL RECORDS, LLC
        63 Katy Perry                             Wide Awake                         SR0000695553    CAPITOL RECORDS, LLC
        64 Lady Antebellum                        American Honey                     SR0000644544    CAPITOL RECORDS, LLC
        65 Lady Antebellum                        Hello World                        SR0000644543    CAPITOL RECORDS, LLC
        66 Lady Antebellum                        If I Knew Then                     SR0000644543    CAPITOL RECORDS, LLC
        67 Lady Antebellum                        Love This Pain                     SR0000644542    CAPITOL RECORDS, LLC
        68 Lady Antebellum                        Need You Now                       SR0000644543    CAPITOL RECORDS, LLC
        69 Lady Antebellum                        Our Kind Of Love                   SR0000644546    CAPITOL RECORDS, LLC
        70 Lady Antebellum                        Perfect Day                        SR0000644543    CAPITOL RECORDS, LLC
        71 Lady Antebellum                        Ready To Love Again                SR0000644547    CAPITOL RECORDS, LLC
        72 Lady Antebellum                        Something 'Bout A Woman            SR0000644543    CAPITOL RECORDS, LLC
        73 Lady Antebellum                        Stars Tonight                      SR0000644546    CAPITOL RECORDS, LLC
        74 Lady Antebellum                        When You Got A Good Thing          SR0000644543    CAPITOL RECORDS, LLC
        75 Leon Russell                           Big Lips                           SR0000741296    CAPITOL RECORDS, LLC
        76 Leon Russell                           Come On In My Kitchen              SR0000741296    CAPITOL RECORDS, LLC
        77 Leon Russell                           Down In Dixieland                  SR0000741296    CAPITOL RECORDS, LLC
        78 Leon Russell                           Fever                              SR0000741296    CAPITOL RECORDS, LLC
        79 Leon Russell                           Fool's Paradise                    SR0000741296    CAPITOL RECORDS, LLC
        80 Leon Russell                           Georgia On My Mind                 SR0000741296    CAPITOL RECORDS, LLC
        81 Leon Russell                           I Got It Bad And That Ain't Good   SR0000741296    CAPITOL RECORDS, LLC
        82 Leon Russell                           I Really Miss You                  SR0000741296    CAPITOL RECORDS, LLC
        83 Leon Russell                           New York State Of Mind             SR0000741296    CAPITOL RECORDS, LLC
        84 Leon Russell                           That Lucky Old Sun                 SR0000741296    CAPITOL RECORDS, LLC
        85 Leon Russell                           The Masquerade Is Over             SR0000741296    CAPITOL RECORDS, LLC
        86 Leon Russell                           Think Of Me                        SR0000741296    CAPITOL RECORDS, LLC
        87 Norah Jones                            All A Dream                        SR0000700099    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        88 Norah Jones                            Cold Cold Heart                    SR0000366945    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        89 Norah Jones                            Come Away With Me                  SR0000366945    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        90 Norah Jones                            Don't Know Why                     SR0000366945    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        91 Norah Jones                            Feelin' The Same Way               SR0000366945    CAPITOL RECORDS, LLC
        92 Norah Jones                            Good Morning                       SR0000700099    CAPITOL RECORDS, LLC
        93 Norah Jones                            Happy Pills                        SR0000700101    CAPITOL RECORDS, LLC
        94 Norah Jones                            I'll Be Your Baby Tonight          SR0000337829    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        95 Norah Jones                            I've Got To See You Again          SR0000366945    CAPITOL RECORDS, LLC
        96 Norah Jones                            Little Broken Hearts               SR0000700099    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        97 Norah Jones                            Lonestar                           SR0000366945    CAPITOL RECORDS, LLC
        98 Norah Jones                            Miriam                             SR0000700099    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
        99 Norah Jones                            Nightingale                        SR0000366945    CAPITOL RECORDS, LLC
                                                                                     SR0000320120;
       100 Norah Jones                            One Flight Down                    SR0000366945    CAPITOL RECORDS, LLC
       101 Norah Jones                            Out On The Road                    SR0000700099    CAPITOL RECORDS, LLC




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           Artist                                 Track                            Reg. No.        Plaintiff
                                                                                   SR0000320120;
       102 Norah Jones                            Painter Song                     SR0000366945    CAPITOL RECORDS, LLC
       103 Norah Jones                            Peace                            SR0000337829    CAPITOL RECORDS, LLC
       104 Norah Jones                            Say Goodbye                      SR0000700099    CAPITOL RECORDS, LLC
                                                                                   SR0000320120;
       105 Norah Jones                            Seven Years                      SR0000366945    CAPITOL RECORDS, LLC
       106 Norah Jones                            She's 22                         SR0000700099    CAPITOL RECORDS, LLC
                                                                                   SR0000320120
       107 Norah Jones                            Shoot The Moon                   ;SR0000366945   CAPITOL RECORDS, LLC
       108 Norah Jones                            Take It Back                     SR0000700099    CAPITOL RECORDS, LLC
                                                                                   SR0000320120;
       109 Norah Jones                            The Long Day Is Over             SR0000366945    CAPITOL RECORDS, LLC
                                                                                   SR0000320120;
       110 Norah Jones                            The Nearness Of You              SR0000366945    CAPITOL RECORDS, LLC
       111 Norah Jones                            Travelin' On                     SR0000700099    CAPITOL RECORDS, LLC
                                                                                   SR0000320120;
       112 Norah Jones                            Turn Me On                       SR0000366945    CAPITOL RECORDS, LLC
       113 The Beach Boys                         Beaches In Mind                  SR0000702826    CAPITOL RECORDS, LLC
       114 The Beach Boys                         Daybreak Over The Ocean          SR0000702826    CAPITOL RECORDS, LLC
       115 The Beach Boys                         From There To Back Again         SR0000702826    CAPITOL RECORDS, LLC
       116 The Beach Boys                         Isn't It Time                    SR0000702826    CAPITOL RECORDS, LLC
       117 The Beach Boys                         Pacific Coast Highway            SR0000702826    CAPITOL RECORDS, LLC
       118 The Beach Boys                         Shelter                          SR0000702826    CAPITOL RECORDS, LLC
       119 The Beach Boys                         Spring Vacation                  SR0000702826    CAPITOL RECORDS, LLC
       120 The Beach Boys                         Strange World                    SR0000702826    CAPITOL RECORDS, LLC
       121 The Beach Boys                         Summer's Gone                    SR0000702826    CAPITOL RECORDS, LLC
       122 The Beach Boys                         That's Why God Made The Radio SR0000702825       CAPITOL RECORDS, LLC
       123 The Beach Boys                         The Private Life Of Bill And Sue SR0000702826    CAPITOL RECORDS, LLC
       124 The Beach Boys                         Think About The Days             SR0000702826    CAPITOL RECORDS, LLC
       125 5 Seconds Of Summer                    Amnesia                          SR0000752304    CAPITOL RECORDS, LLC
       126 5 Seconds Of Summer                    Don't Stop                       SR0000752300    CAPITOL RECORDS, LLC
       127 Aaron Neville                          Be My Baby                       SR0000715103    CAPITOL RECORDS, LLC
                                                  Goodnight My Love (Pleasant
       128 Aaron Neville                          Dreams)                          SR0000715103    CAPITOL RECORDS, LLC
       129 Aaron Neville                          Gypsy Woman                      SR0000715103    CAPITOL RECORDS, LLC
       130 Aaron Neville                          Little Bitty Pretty One          SR0000715103    CAPITOL RECORDS, LLC
       131 Aaron Neville                          Money Honey                      SR0000715103    CAPITOL RECORDS, LLC
       132 Aaron Neville                          My True Story                    SR0000715103    CAPITOL RECORDS, LLC
       133 Aaron Neville                          Ruby Baby                        SR0000715103    CAPITOL RECORDS, LLC
       134 Aaron Neville                          Tears On My Pillow               SR0000715103    CAPITOL RECORDS, LLC
                                                  This Magic Moment / True Love
       135 Aaron Neville                          (Medley)                         SR0000715103    CAPITOL RECORDS, LLC
       136 Aaron Neville                          Ting A Ling                      SR0000715103    CAPITOL RECORDS, LLC
       137 Aaron Neville                          Under The Boardwalk              SR0000715103    CAPITOL RECORDS, LLC
       138 Aaron Neville                          Work With Me Annie               SR0000715103    CAPITOL RECORDS, LLC
       139 Bastille                               Bad Blood                        SR0000728185    CAPITOL RECORDS, LLC
       140 Bastille                               Pompeii                          SR0000728185    CAPITOL RECORDS, LLC
       141 Dierks Bentley                         Back Porch                       SR0000740353    CAPITOL RECORDS, LLC
       142 Dierks Bentley                         Bourbon In Kentucky              SR0000724648    CAPITOL RECORDS, LLC
       143 Dierks Bentley                         Damn These Dreams                SR0000740353    CAPITOL RECORDS, LLC
       144 Dierks Bentley                         Drunk On A Plane                 SR0000740353    CAPITOL RECORDS, LLC
       145 Dierks Bentley                         Five                             SR0000740353    CAPITOL RECORDS, LLC
       146 Dierks Bentley                         Here On Earth                    SR0000740353    CAPITOL RECORDS, LLC
       147 Dierks Bentley                         Hurt Somebody                    SR0000740353    CAPITOL RECORDS, LLC
       148 Dierks Bentley                         I Hold On                        SR0000729809    CAPITOL RECORDS, LLC
       149 Dierks Bentley                         Pretty Girls                     SR0000740353    CAPITOL RECORDS, LLC
       150 Dierks Bentley                         Riser                            SR0000740353    CAPITOL RECORDS, LLC
       151 Dierks Bentley                         Say You Do                       SR0000740353    CAPITOL RECORDS, LLC



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           Artist                                 Track                            Reg. No.       Plaintiff
       152 Dierks Bentley                         Sounds Of Summer                 SR0000740353   CAPITOL RECORDS, LLC
       153 Little Big Town                        All Over Again                   SR0000662283   CAPITOL RECORDS, LLC
       154 Little Big Town                        All The Way Down                 SR0000662283   CAPITOL RECORDS, LLC
       155 Little Big Town                        Kiss Goodbye                     SR0000662283   CAPITOL RECORDS, LLC
       156 Little Big Town                        Lean Into It                     SR0000662283   CAPITOL RECORDS, LLC
       157 Little Big Town                        Life Rolls On                    SR0000662283   CAPITOL RECORDS, LLC
       158 Little Big Town                        Little White Church              SR0000662274   CAPITOL RECORDS, LLC
       159 Little Big Town                        Rain On A Tin Roof               SR0000662283   CAPITOL RECORDS, LLC
       160 Little Big Town                        Runaway Train                    SR0000662283   CAPITOL RECORDS, LLC
       161 Little Big Town                        Shut Up Train                    SR0000662283   CAPITOL RECORDS, LLC
       162 Little Big Town                        The Reason Why                   SR0000662283   CAPITOL RECORDS, LLC
       163 Little Big Town                        Why, Oh Why                      SR0000662283   CAPITOL RECORDS, LLC
       164 Little Big Town                        You Can't Have Everything        SR0000662283   CAPITOL RECORDS, LLC
       165 Luke Bryan                             Been There, Done That            SR0000681898   CAPITOL RECORDS, LLC
       166 Luke Bryan                             Buzzkill                         SR0000720004   CAPITOL RECORDS, LLC
       167 Luke Bryan                             Cold Beer Drinker                SR0000720004   CAPITOL RECORDS, LLC
       168 Luke Bryan                             Country Girl (Shake It For Me)   SR0000681897   CAPITOL RECORDS, LLC
       169 Luke Bryan                             Drunk On You                     SR0000681898   CAPITOL RECORDS, LLC
       170 Luke Bryan                             Faded Away                       SR0000681898   CAPITOL RECORDS, LLC
       171 Luke Bryan                             Harvest Time                     SR0000681898   CAPITOL RECORDS, LLC
       172 Luke Bryan                             I Don't Want This Night To End   SR0000681898   CAPITOL RECORDS, LLC
       173 Luke Bryan                             I Knew You That Way              SR0000681898   CAPITOL RECORDS, LLC
       174 Luke Bryan                             I Know You're Gonna Be There     SR0000681898   CAPITOL RECORDS, LLC
       175 Luke Bryan                             I See You                        SR0000728445   CAPITOL RECORDS, LLC
       176 Luke Bryan                             If You Ain't Here To Party       SR0000720004   CAPITOL RECORDS, LLC
       177 Luke Bryan                             In Love With The Girl            SR0000720004   CAPITOL RECORDS, LLC
       178 Luke Bryan                             Just A Sip                       SR0000720004   CAPITOL RECORDS, LLC
       179 Luke Bryan                             Kiss Tomorrow Goodbye            SR0000681898   CAPITOL RECORDS, LLC
       180 Luke Bryan                             Little Bit Later On              SR0000720004   CAPITOL RECORDS, LLC
       181 Luke Bryan                             Love In A College Town           SR0000720004   CAPITOL RECORDS, LLC
       182 Luke Bryan                             Muckalee Creek Water             SR0000681898   CAPITOL RECORDS, LLC
       183 Luke Bryan                             Shake The Sand                   SR0000720004   CAPITOL RECORDS, LLC
       184 Luke Bryan                             Shore Thing                      SR0000720004   CAPITOL RECORDS, LLC
       185 Luke Bryan                             Sorority Girl                    SR0000720004   CAPITOL RECORDS, LLC
       186 Luke Bryan                             Spring Break-Up                  SR0000720004   CAPITOL RECORDS, LLC
       187 Luke Bryan                             Suntan City                      SR0000720004   CAPITOL RECORDS, LLC
       188 Luke Bryan                             Tailgate Blues                   SR0000681898   CAPITOL RECORDS, LLC
       189 Luke Bryan                             Take My Drunk Ass Home           SR0000720004   CAPITOL RECORDS, LLC
       190 Luke Bryan                             Too Damn Young                   SR0000681898   CAPITOL RECORDS, LLC
       191 Luke Bryan                             Wild Weekend                     SR0000720004   CAPITOL RECORDS, LLC
       192 Luke Bryan                             You Don't Know Jack              SR0000681898   CAPITOL RECORDS, LLC
       193 Rosanne Cash                           50,000 Watts                     SR0000737352   CAPITOL RECORDS, LLC
       194 Rosanne Cash                           A Feather's Not A Bird           SR0000737350   CAPITOL RECORDS, LLC
       195 Rosanne Cash                           Biloxi                           SR0000737352   CAPITOL RECORDS, LLC
       196 Rosanne Cash                           Etta's Tune                      SR0000737352   CAPITOL RECORDS, LLC
       197 Rosanne Cash                           Modern Blue                      SR0000737351   CAPITOL RECORDS, LLC
       198 Rosanne Cash                           Money Road                       SR0000737352   CAPITOL RECORDS, LLC
       199 Rosanne Cash                           Night School                     SR0000737349   CAPITOL RECORDS, LLC
       200 Rosanne Cash                           Tell Heaven                      SR0000737352   CAPITOL RECORDS, LLC
       201 Rosanne Cash                           The Long Way Home                SR0000737352   CAPITOL RECORDS, LLC
       202 Rosanne Cash                           The Sunken Lands                 SR0000737352   CAPITOL RECORDS, LLC
       203 Rosanne Cash                           Two Girls                        SR0000737352   CAPITOL RECORDS, LLC
       204 Rosanne Cash                           When The Master Calls The Roll   SR0000737352   CAPITOL RECORDS, LLC
       205 Rosanne Cash                           World Of Strange Design          SR0000737352   CAPITOL RECORDS, LLC
       206 Rosanne Cash                           Your Southern Heart              SR0000737352   CAPITOL RECORDS, LLC
       207 Sam Smith                              Drowning Shadows                 SR0000776351   CAPITOL RECORDS, LLC
       208 Sam Smith                              Good Thing                       SR0000750596   CAPITOL RECORDS, LLC
       209 Sam Smith                              How Will I Know                  SR0000776350   CAPITOL RECORDS, LLC



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           Artist                              Track                               Reg. No.       Plaintiff
       210 Sam Smith                           I'm Not The Only One                SR0000750596   CAPITOL RECORDS, LLC
       211 Sam Smith                           I've Told You Now                   SR0000750596   CAPITOL RECORDS, LLC
       212 Sam Smith                           Latch (Acoustic)                    SR0000739735   CAPITOL RECORDS, LLC
       213 Sam Smith                           Lay Me Down                         SR0000750596   CAPITOL RECORDS, LLC
       214 Sam Smith                           Leave Your Lover                    SR0000750596   CAPITOL RECORDS, LLC
       215 Sam Smith                           Life Support                        SR0000750596   CAPITOL RECORDS, LLC
       216 Sam Smith                           Like I Can                          SR0000750596   CAPITOL RECORDS, LLC
       217 Sam Smith                           Love Is A Losing Game               SR0000776350   CAPITOL RECORDS, LLC
       218 Sam Smith                           Make It To Me                       SR0000750581   CAPITOL RECORDS, LLC
       219 Sam Smith                           Money On My Mind                    SR0000739735   CAPITOL RECORDS, LLC
       220 Sam Smith                           Nirvana                             SR0000739735   CAPITOL RECORDS, LLC
       221 Sam Smith                           Not In That Way                     SR0000750596   CAPITOL RECORDS, LLC
       222 Sam Smith                           Omen (Acoustic)                     SR0000776350   CAPITOL RECORDS, LLC
       223 Sam Smith                           Reminds Me Of You                   SR0000750596   CAPITOL RECORDS, LLC
       224 Sam Smith                           Restart                             SR0000750596   CAPITOL RECORDS, LLC
       225 Sam Smith                           Stay With Me                        SR0000750596   CAPITOL RECORDS, LLC
       226 Willie Nelson & Wynton Marsalis     Busted (Gospel 12/8 Shuffle)        SR0000680250   CAPITOL RECORDS, LLC
                                               Hallelujah I Love her So (Gospel 2-
       227 Willie Nelson & Wynton Marsalis     Beat/Boogaloo/4/4 Swing)            SR0000680250   CAPITOL RECORDS, LLC
                                               I Love You So Much It Hurts
       228 Willie Nelson & Wynton Marsalis     (Waltz)                             SR0000680250   CAPITOL RECORDS, LLC
                                               Losing Hand (Dirge With Chain-
       229 Willie Nelson & Wynton Marsalis     Gang Shuffle)                       SR0000680250   CAPITOL RECORDS, LLC
                                               Unchain My Heart (Bolero With
       230 Willie Nelson & Wynton Marsalis     Habanera Bass)                      SR0000680250   CAPITOL RECORDS, LLC
                                               Come Rain Or Come Shine (feat.
       231 Willie Nelson & Wynton Marsalis Featuring
                                               NorahNorah
                                                       Jones)Jones
                                                               [Walking Ballad]    SR0000680250   CAPITOL RECORDS, LLC
                                               Cryin' Time (feat. Norah Jones)
       232 Willie Nelson & Wynton Marsalis Featuring
                                               [Country
                                                      Norah
                                                         Ballad]
                                                             Jones                 SR0000680250   CAPITOL RECORDS, LLC
                                               Here We Go Again (feat. Norah
                                               Jones) [Rhythm & Blues 12/8
       233 Willie Nelson & Wynton Marsalis Featuring
                                               Shuffle]
                                                      Norah Jones                  SR0000680250   CAPITOL RECORDS, LLC
                                               Makin' Whoopee (feat. Norah
                                               Jones) [Hard-Bop 2-Beat/ 4/4
       234 Willie Nelson & Wynton Marsalis Featuring
                                               Swing] Norah Jones                  SR0000680250   CAPITOL RECORDS, LLC
       235 Calvin Harris feat. Rihanna         This is What You Came For           SR0000787284   SONY MUSIC ENTERTAINMENT
                                               It's So Hard To Say Goodbye To
       236 Boyz II Men                         Yesterday                           SR0000212333   UMG RECORDINGS, INC.
       237 Boyz II Men                         Little Things                       SR0000212333   UMG RECORDINGS, INC.
       238 Boyz II Men                         Lonely Heart                        SR0000212333   UMG RECORDINGS, INC.
       239 Boyz II Men                         Please Don't Go                     SR0000212333   UMG RECORDINGS, INC.
       240 Boyz II Men                         Sympin'                             SR0000212333   UMG RECORDINGS, INC.
       241 Boyz II Men                         This Is My Heart                    SR0000212333   UMG RECORDINGS, INC.
       242 Boyz II Men                         Uhh Ahh                             SR0000212333   UMG RECORDINGS, INC.
       243 Boyz II Men                         Under Pressure                      SR0000212333   UMG RECORDINGS, INC.
       244 Boyz II Men                         Your Love                           SR0000212333   UMG RECORDINGS, INC.
       245 Brandon Flowers                     Crossfire                           SR0000657530   UMG RECORDINGS, INC.
       246 Brandon Flowers                     Hard Enough                         SR0000661082   UMG RECORDINGS, INC.
       247 Brandon Flowers                     Jilted Lovers & Broken Hearts       SR0000661082   UMG RECORDINGS, INC.
       248 Brandon Flowers                     Magdalena                           SR0000661082   UMG RECORDINGS, INC.
       249 Brandon Flowers                     On The Floor                        SR0000661082   UMG RECORDINGS, INC.
       250 Brandon Flowers                     Only The Young                      SR0000661082   UMG RECORDINGS, INC.
       251 Brandon Flowers                     Playing With Fire                   SR0000661082   UMG RECORDINGS, INC.
       252 Brandon Flowers                     Swallow It                          SR0000661083   UMG RECORDINGS, INC.
       253 Brandon Flowers                     Was It Something I Said?            SR0000661082   UMG RECORDINGS, INC.
       254 Brandon Flowers                     Welcome To Fabulous Las Vegas SR0000661082         UMG RECORDINGS, INC.
       255 Carly Rae Jepsen                    Almost Said It                      SR0000708946   UMG RECORDINGS, INC.




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           Artist                                 Track                            Reg. No.              Plaintiff
                                                                                   SR0000708946;
       256 Carly Rae Jepsen                       Tonight I'm Getting Over You     SR0000738473          UMG RECORDINGS, INC.
       257 Carly Rae Jepsen, Owl City             Good Time                        SR0000707491          UMG RECORDINGS, INC.
       258 Carpenters                             Crystal Lullaby                  RE0000852208; N1070   UMG RECORDINGS, INC.
       259 Carpenters                             Flat Baroque                     RE0000852208; N1070   UMG RECORDINGS, INC.
       260 Carpenters                             Goodbye To Love                  RE0000852208; N1070   UMG RECORDINGS, INC.
       261 Carpenters                             I Won't Last A Day Without You   RE0000852208; N1070   UMG RECORDINGS, INC.
       262 Carpenters                             Piano Picker                     RE0000852208; N1070   UMG RECORDINGS, INC.
       263 Carpenters                             Road Ode                         RE0000852208; N1070   UMG RECORDINGS, INC.
       264 Chrisette Michele                      Blame It On Me                   SR0000631429          UMG RECORDINGS, INC.
       265 Chrisette Michele                      What You Do                      SR0000631428          UMG RECORDINGS, INC.
       266 Colbie Caillat                         All Of You                       SR0000679496          UMG RECORDINGS, INC.
       267 Colbie Caillat                         Before I Let You Go              SR0000679496          UMG RECORDINGS, INC.
       268 Colbie Caillat                         Brighter Than The Sun            SR0000679497          UMG RECORDINGS, INC.
       269 Colbie Caillat                         Dream Life, Life                 SR0000679496          UMG RECORDINGS, INC.
       270 Colbie Caillat                         Favorite Song                    SR0000679496          UMG RECORDINGS, INC.
       271 Colbie Caillat                         I Do                             SR0000674233          UMG RECORDINGS, INC.
       272 Colbie Caillat                         Like Yesterday                   SR0000679496          UMG RECORDINGS, INC.
       273 Colbie Caillat                         Make It Rain                     SR0000679496          UMG RECORDINGS, INC.
       274 Colbie Caillat                         Shadow                           SR0000679496          UMG RECORDINGS, INC.
       275 Colbie Caillat                         Think Good Thoughts              SR0000679496          UMG RECORDINGS, INC.
       276 Colbie Caillat                         What If                          SR0000679496          UMG RECORDINGS, INC.
       277 Colbie Caillat                         What Means The Most              SR0000679496          UMG RECORDINGS, INC.
       278 Common                                 A Bigger Picture Called Free     SR0000784367          UMG RECORDINGS, INC.
       279 Common                                 A Moment In The Sun Interlude    SR0000784367          UMG RECORDINGS, INC.
       280 Common                                 Black America Again              SR0000784369          UMG RECORDINGS, INC.
       281 Common                                 Home                             SR0000784375          UMG RECORDINGS, INC.
       282 Common                                 Joy And Peace                    SR0000784367          UMG RECORDINGS, INC.
       283 Common                                 Letter To The Free               SR0000784372          UMG RECORDINGS, INC.
       284 Common                                 Little Chicago Boy               SR0000784367          UMG RECORDINGS, INC.
       285 Common                                 Love Star                        SR0000784368          UMG RECORDINGS, INC.
       286 Common                                 On A Whim Interlude              SR0000784367          UMG RECORDINGS, INC.
       287 Common                                 Pyramids                         SR0000784378          UMG RECORDINGS, INC.
       288 Common                                 Rain                             SR0000784367          UMG RECORDINGS, INC.
       289 Common                                 Red Wine                         SR0000784367          UMG RECORDINGS, INC.
       290 Common                                 The Day Women Took Over          SR0000784367          UMG RECORDINGS, INC.
       291 Common                                 Unfamiliar                       SR0000784367          UMG RECORDINGS, INC.
       292 Common                                 Word From Moe Luv Interlude      SR0000784367          UMG RECORDINGS, INC.
       293 American Authors                       Believer                         SR0000720637          UMG RECORDINGS, INC.
       294 American Authors                       Best Day Of My Life              SR0000720641          UMG RECORDINGS, INC.
       295 American Authors                       Ghost                            SR0000743370          UMG RECORDINGS, INC.
       296 American Authors                       Heart Of Stone                   SR0000743370          UMG RECORDINGS, INC.
       297 American Authors                       Hit It                           SR0000730561          UMG RECORDINGS, INC.
       298 American Authors                       Home                             SR0000730561          UMG RECORDINGS, INC.
       299 American Authors                       Love                             SR0000743370          UMG RECORDINGS, INC.
       300 American Authors                       Luck                             SR0000730561          UMG RECORDINGS, INC.
       301 American Authors                       Oh, What A Life                  SR0000743370          UMG RECORDINGS, INC.
       302 American Authors                       Think About It                   SR0000743370          UMG RECORDINGS, INC.
       303 American Authors                       Trouble                          SR0000743372          UMG RECORDINGS, INC.
       304 Amy Winehouse                          Back To Black                    SR0000407451          UMG RECORDINGS, INC.
       305 Amy Winehouse                          He Can Only Hold Her             SR0000407451          UMG RECORDINGS, INC.
       306 Amy Winehouse                          Just Friends                     SR0000407451          UMG RECORDINGS, INC.
       307 Amy Winehouse                          Some Unholy War                  SR0000407451          UMG RECORDINGS, INC.
       308 Amy Winehouse                          Tears Dry On Their Own           SR0000407451          UMG RECORDINGS, INC.
       309 Amy Winehouse                          Wake Up Alone                    SR0000695755          UMG RECORDINGS, INC.
       310 Ariana Grande                          Bad Decisions                    SR0000781026          UMG RECORDINGS, INC.
       311 Ariana Grande                          Be Alright                       SR0000781014          UMG RECORDINGS, INC.
       312 Ariana Grande                          Dangerous Woman                  SR0000781013          UMG RECORDINGS, INC.



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           Artist                                 Track                              Reg. No.             Plaintiff
       313 Ariana Grande                          Everyday                           SR0000781017         UMG RECORDINGS, INC.
       314 Ariana Grande                          Focus                              SR0000776846         UMG RECORDINGS, INC.
       315 Ariana Grande                          Greedy                             SR0000781018         UMG RECORDINGS, INC.
       316 Ariana Grande                          I Don't Care                       SR0000781012         UMG RECORDINGS, INC.
       317 Ariana Grande                          Into You                           SR0000781016         UMG RECORDINGS, INC.
       318 Ariana Grande                          Jason's Song                       SR0000781012         UMG RECORDINGS, INC.
       319 Ariana Grande                          Knew Better / Forever Boy          SR0000781012         UMG RECORDINGS, INC.
       320 Ariana Grande                          Leave Me Lonely                    SR0000781022         UMG RECORDINGS, INC.
       321 Ariana Grande                          Let Me Love You                    SR0000781015         UMG RECORDINGS, INC.
       322 Ariana Grande                          Moonlight                          SR0000781012         UMG RECORDINGS, INC.
       323 Ariana Grande                          Sometimes                          SR0000781020         UMG RECORDINGS, INC.
       324 Ariana Grande                          Step On Up                         SR0000781012         UMG RECORDINGS, INC.
       325 Ariana Grande                          Thinking Bout You                  SR0000781012         UMG RECORDINGS, INC.
       326 Ariana Grande                          Touch It                           SR0000781024         UMG RECORDINGS, INC.
                                                  (You Gotta) Fight For Your Right   SR0000079470;
       327 Beastie Boys                           (To Party)                         SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       328 Beastie Boys                           Brass Monkey                       SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       329 Beastie Boys                           Girls                              SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       330 Beastie Boys                           Hold It Now, Hit It                SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       331 Beastie Boys                           No Sleep Till Brooklyn             SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       332 Beastie Boys                           Posse In Effect                    SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       333 Beastie Boys                           Rhymin & Stealin                   SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       334 Beastie Boys                           She's Crafty                       SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       335 Beastie Boys                           Slow And Low                       SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       336 Beastie Boys                           Slow Ride                          SR0000091144         UMG RECORDINGS, INC.
                                                                                     SR0000079470;
       337 Beastie Boys                           Time To Get Ill                    SR0000091144         UMG RECORDINGS, INC.
       338 Billy Currington                       All Day Long                       SR0000664523         UMG RECORDINGS, INC.
       339 Billy Currington                       Bad Day Of Fishin'                 SR0000664523         UMG RECORDINGS, INC.
       340 Billy Currington                       Enjoy Yourself                     SR0000664523         UMG RECORDINGS, INC.
       341 Billy Currington                       Like My Dog                        SR0000664523         UMG RECORDINGS, INC.
       342 Billy Currington                       Lil' Ol' Lonesome Dixie Town       SR0000664523         UMG RECORDINGS, INC.
       343 Billy Currington                       Love Done Gone                     SR0000664523         UMG RECORDINGS, INC.
       344 Billy Currington                       Perfect Day                        SR0000664523         UMG RECORDINGS, INC.
       345 Billy Currington                       Pretty Good At Drinkin' Beer       SR0000664159         UMG RECORDINGS, INC.
       346 Billy Currington                       Until You                          SR0000664523         UMG RECORDINGS, INC.
                                                                                     SR0000278207;
       347 Bob Marley                             Burnin' And Lootin'                SR0000126653         UMG RECORDINGS, INC.
                                                                                     SR0000278207;
       348 Bob Marley                             Concrete Jungle                    SR0000005955         UMG RECORDINGS, INC.
       349 Bob Marley                             Guiltiness                         SR0000278207; N48538 UMG RECORDINGS, INC.
       350 Bob Marley                             Johnny Was                         SR0000278207; N46332 UMG RECORDINGS, INC.
                                                                                     SR0000278207;
                                                                                     NF0000002037;
       351 Bob Marley                             Kinky Reggae                       RE0000906109         UMG RECORDINGS, INC.
                                                                                     SR0000278207;
       352 Bob Marley                             No More Trouble                    SR0000005955         UMG RECORDINGS, INC.
                                                                                     SR0000278207;
       353 Bob Marley                             Rastaman Chant                     SR0000126653         UMG RECORDINGS, INC.



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           Artist                                 Track                             Reg. No.             Plaintiff
                                                                                    SR0000278207;
       354 Bob Marley                             Rebel Music                       SR0000005955         UMG RECORDINGS, INC.
       355 Bob Marley                             Roots, Rock, Reggae               SR0000278207; N46332 UMG RECORDINGS, INC.
                                                                                    SR0000278207;
       356 Bob Marley                             Survival a.k.a. Black Survivors   SR0000013612         UMG RECORDINGS, INC.
       357 Bob Marley                             Turn Your Lights Down Low         SR0000278207; N48538 UMG RECORDINGS, INC.
       358 Bob Marley & The Wailers               Africa Unite                      SR0000013612         UMG RECORDINGS, INC.
       359 Bob Marley & The Wailers               Ambush In The Night               SR0000013612         UMG RECORDINGS, INC.
       360 Bob Marley & The Wailers               Babylon System                    SR0000013612         UMG RECORDINGS, INC.
       361 Bob Marley & The Wailers               Bad Card                          SR0000019502         UMG RECORDINGS, INC.
       362 Bob Marley & The Wailers               Coming In From The Cold           SR0000019502         UMG RECORDINGS, INC.
       363 Bob Marley & The Wailers               Crazy Baldhead                    SR0000323536; N46332 UMG RECORDINGS, INC.
       364 Bob Marley & The Wailers               Crisis                            SR0000001122         UMG RECORDINGS, INC.
                                                                                    SR0000001122;
       365 Bob Marley & The Wailers               Easy Skanking                     SR0000011955         UMG RECORDINGS, INC.
       366 Bob Marley & The Wailers               Forever Loving Jah                SR0000019502         UMG RECORDINGS, INC.
       367 Bob Marley & The Wailers               Heathen                           SR0000005955         UMG RECORDINGS, INC.
       368 Bob Marley & The Wailers               High Tide Or Low Tide             SR0000152585         UMG RECORDINGS, INC.
       369 Bob Marley & The Wailers               I Shot the Sheriff                RE0000873551; N26054 UMG RECORDINGS, INC.
                                                                                    SR0000001122;
       370 Bob Marley & The Wailers               Is This Love                      SR0000011955         UMG RECORDINGS, INC.
       371 Bob Marley & The Wailers               Kaya                              SR0000001122         UMG RECORDINGS, INC.
       372 Bob Marley & The Wailers               Lively Up Yourself                SR0000005955         UMG RECORDINGS, INC.
       373 Bob Marley & The Wailers               Medley: War / No More Trouble SR0000734089; N46332 UMG RECORDINGS, INC.
       374 Bob Marley & The Wailers               Natural Mystic                    RE0000926868; N48538 UMG RECORDINGS, INC.
       375 Bob Marley & The Wailers               Night Shift                       SR0000323536; N46332 UMG RECORDINGS, INC.
       376 Bob Marley & The Wailers               No Woman No Cry                   RE0000906109; NF2037 UMG RECORDINGS, INC.
       377 Bob Marley & The Wailers               One Drop                          SR0000013612         UMG RECORDINGS, INC.
       378 Bob Marley & The Wailers               One Love                          RE0000926868; N48538 UMG RECORDINGS, INC.
       379 Bob Marley & The Wailers               Pimper's Paradise                 SR0000019502         UMG RECORDINGS, INC.
       380 Bob Marley & The Wailers               Positive Vibration                SR0000005955; N46332 UMG RECORDINGS, INC.
       381 Bob Marley & The Wailers               Punky Reggae Party                SR0000005955         UMG RECORDINGS, INC.
                                                  Punky Reggae Party- Live at the
       382 Bob Marley & The Wailers               Pavillon de Paris 1977            SR0000005955         UMG RECORDINGS, INC.
       383 Bob Marley & The Wailers               Rat Race                          SR0000005955; N46332 UMG RECORDINGS, INC.
                                                  Rat Race- Live at the Pavillon de
       384 Bob Marley & The Wailers               Paris 1977                        SR0000005955         UMG RECORDINGS, INC.

       385 Bob Marley & The Wailers               Real Situation                 SR0000019502         UMG RECORDINGS, INC.
       386 Bob Marley & The Wailers               Ride Natty Ride                SR0000013612         UMG RECORDINGS, INC.
       387 Bob Marley & The Wailers               She's Gone                     SR0000001122         UMG RECORDINGS, INC.
       388 Bob Marley & The Wailers               So Much Trouble In The World   SR0000013612         UMG RECORDINGS, INC.
                                                                                 SR0000001122;
       389 Bob Marley & The Wailers               Sun Is Shining                 SR0000011955         UMG RECORDINGS, INC.
       390 Bob Marley & The Wailers               Survival                       SR0000013612         UMG RECORDINGS, INC.
       391 Bob Marley & The Wailers               The Heathen                    RE0000926868; N48538 UMG RECORDINGS, INC.
       392 Bob Marley & The Wailers               Three Little Birds             RE0000926868; N48538 UMG RECORDINGS, INC.
       393 Bob Marley & The Wailers               Top Rankin'                    SR0000013612         UMG RECORDINGS, INC.
                                                                                 SR0000013612;
       394 Bob Marley & The Wailers               Wake Up And Live               SR0000012504         UMG RECORDINGS, INC.
       395 Bob Marley & The Wailers               War                            SR0000323536         UMG RECORDINGS, INC.
       396 Bob Marley & The Wailers               We And Dem                     SR0000019502         UMG RECORDINGS, INC.

       397 Bob Marley & The Wailers               Work                           SR0000019502          UMG RECORDINGS, INC.
       398 Bob Marley & The Wailers               Zimbabwe                       SR0000013612          UMG RECORDINGS, INC.
       399 Bob Marley & The Wailers               Zion Train                     SR0000019502          UMG RECORDINGS, INC.
       400 Bon Jovi                               99 In The Shade                SR0000100048          UMG RECORDINGS, INC.
       401 Bon Jovi                               All Hail The King              SR0000784239          UMG RECORDINGS, INC.



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           Artist                                 Track                              Reg. No.        Plaintiff
                                                                                     SR0000100048;
       402 Bon Jovi                               Backdoor To Heaven                 SR0000750797    UMG RECORDINGS, INC.
       403 Bon Jovi                               Bad Medicine                       SR0000100048    UMG RECORDINGS, INC.
       404 Bon Jovi                               Blood On Blood                     SR0000100048    UMG RECORDINGS, INC.
       405 Bon Jovi                               Born Again Tomorrow                SR0000784243    UMG RECORDINGS, INC.
       406 Bon Jovi                               Born To Be My Baby                 SR0000100048    UMG RECORDINGS, INC.
       407 Bon Jovi                               Come On Up To Our House            SR0000784239    UMG RECORDINGS, INC.
       408 Bon Jovi                               Diamond Ring                       SR0000208948    UMG RECORDINGS, INC.
                                                  Does Anybody Really Fall In Love
       409 Bon Jovi                               Anymore?                           SR0000750797    UMG RECORDINGS, INC.
       410 Bon Jovi                               Full Moon High                     SR0000750797    UMG RECORDINGS, INC.
       411 Bon Jovi                               God Bless This Mess                SR0000784239    UMG RECORDINGS, INC.
       412 Bon Jovi                               Goodnight New York                 SR0000784239    UMG RECORDINGS, INC.
       413 Bon Jovi                               Growing Up the Hard Way            SR0000750797    UMG RECORDINGS, INC.
       414 Bon Jovi                               Homebound Train                    SR0000100048    UMG RECORDINGS, INC.
       415 Bon Jovi                               House Of Fire                      SR0000750797    UMG RECORDINGS, INC.
       416 Bon Jovi                               I Will Drive You Home              SR0000784239    UMG RECORDINGS, INC.
       417 Bon Jovi                               I'd Die For You                    SR0000071794    UMG RECORDINGS, INC.
       418 Bon Jovi                               I'll Be There For You              SR0000100048    UMG RECORDINGS, INC.
       419 Bon Jovi                               Judgement Day                      SR0000750797    UMG RECORDINGS, INC.
       420 Bon Jovi                               Knockout                           SR0000784241    UMG RECORDINGS, INC.
       421 Bon Jovi                               Labor Of Love                      SR0000784242    UMG RECORDINGS, INC.
       422 Bon Jovi                               Lay Your Hands On Me               SR0000100048    UMG RECORDINGS, INC.
       423 Bon Jovi                               Let It Rock                        SR0000071794    UMG RECORDINGS, INC.
       424 Bon Jovi                               Let's Make It Baby                 SR0000750797    UMG RECORDINGS, INC.
       425 Bon Jovi                               Livin' On A Prayer                 SR0000071794    UMG RECORDINGS, INC.
       426 Bon Jovi                               Living In Sin                      SR0000100048    UMG RECORDINGS, INC.
       427 Bon Jovi                               Living With The Ghost              SR0000784239    UMG RECORDINGS, INC.
       428 Bon Jovi                               Love For Sale                      SR0000100048    UMG RECORDINGS, INC.
       429 Bon Jovi                               Love Hurts                         SR0000750797    UMG RECORDINGS, INC.
       430 Bon Jovi                               Never Say Goodbye                  SR0000071794    UMG RECORDINGS, INC.
       431 Bon Jovi                               New Year's Day                     SR0000784239    UMG RECORDINGS, INC.
       432 Bon Jovi                               Now And Forever                    SR0000750797    UMG RECORDINGS, INC.
       433 Bon Jovi                               Raise Your Hands                   SR0000071794    UMG RECORDINGS, INC.
       434 Bon Jovi                               Real Love                          SR0000784239    UMG RECORDINGS, INC.
       435 Bon Jovi                               Reunion                            SR0000784239    UMG RECORDINGS, INC.
       436 Bon Jovi                               Ride Cowboy Ride                   SR0000100048    UMG RECORDINGS, INC.
       437 Bon Jovi                               Roller Coaster                     SR0000784239    UMG RECORDINGS, INC.
       438 Bon Jovi                               Scars On This Guitar               SR0000784239    UMG RECORDINGS, INC.
       439 Bon Jovi                               Social Disease                     SR0000071794    UMG RECORDINGS, INC.
       440 Bon Jovi                               Stick To Your Guns                 SR0000100048    UMG RECORDINGS, INC.
       441 Bon Jovi                               The Devil's In The Temple          SR0000784239    UMG RECORDINGS, INC.
       442 Bon Jovi                               This House Is Not For Sale         SR0000791610    UMG RECORDINGS, INC.
       443 Bon Jovi                               Touch Of Grey                      SR0000784239    UMG RECORDINGS, INC.
       444 Bon Jovi                               Wanted Dead Or Alive               SR0000071794    UMG RECORDINGS, INC.
       445 Bon Jovi                               We Don't Run                       SR0000784239    UMG RECORDINGS, INC.
       446 Bon Jovi                               Wild In The Streets                SR0000071794    UMG RECORDINGS, INC.
       447 Bon Jovi                               Wild Is The Wind                   SR0000100048    UMG RECORDINGS, INC.
       448 Bon Jovi                               Without Love                       SR0000071794    UMG RECORDINGS, INC.
       449 Boney James                            Close To You                       SR0000681271    UMG RECORDINGS, INC.
       450 Boney James                            Contact                            SR0000681270    UMG RECORDINGS, INC.
       451 Boney James                            Cry                                SR0000681271    UMG RECORDINGS, INC.
       452 Boney James                            Deep Time                          SR0000681271    UMG RECORDINGS, INC.
       453 Boney James                            Everything Matters                 SR0000681271    UMG RECORDINGS, INC.
       454 Boney James                            I'm Waiting                        SR0000681271    UMG RECORDINGS, INC.
       455 Boney James                            Spin                               SR0000681271    UMG RECORDINGS, INC.
       456 Boney James                            That Look On Your Face             SR0000681271    UMG RECORDINGS, INC.
       457 Boney James                            There And Back                     SR0000681271    UMG RECORDINGS, INC.



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           Artist                                 Track                             Reg. No.       Plaintiff
       458 Boney James, LeToya Luckett            When I Had The Chance             SR0000681272   UMG RECORDINGS, INC.
       459 Desiigner                              Caliber                           SR0000792862   UMG RECORDINGS, INC.
       460 Desiigner                              Da Day                            SR0000792862   UMG RECORDINGS, INC.
       461 Desiigner                              interlude 2                       SR0000792862   UMG RECORDINGS, INC.
       462 Desiigner                              Intro                             SR0000792862   UMG RECORDINGS, INC.
       463 Desiigner                              Jet                               SR0000792862   UMG RECORDINGS, INC.
       464 Desiigner                              Make It Out                       SR0000792862   UMG RECORDINGS, INC.
       465 Desiigner                              Monstas & Villains                SR0000792862   UMG RECORDINGS, INC.
       466 Desiigner                              Overnight                         SR0000792862   UMG RECORDINGS, INC.
       467 Desiigner                              Panda                             SR0000779266   UMG RECORDINGS, INC.
       468 Desiigner                              Roll Wit Me                       SR0000792862   UMG RECORDINGS, INC.
       469 Desiigner                              Shooters                          SR0000792862   UMG RECORDINGS, INC.
       470 Desiigner                              Talk Regardless                   SR0000792862   UMG RECORDINGS, INC.
       471 Desiigner                              Zombie Walk                       SR0000792862   UMG RECORDINGS, INC.
       472 Diana Krall                            Devil May Care                    SR0000186505   UMG RECORDINGS, INC.
       473 Diana Krall                            Do It Again                       SR0000186505   UMG RECORDINGS, INC.
                                                  East Of The Sun (And West Of
       474 DIANA KRALL                            The Moon)                         SR0000186505   UMG RECORDINGS, INC.
       475 Diana Krall                            Glad Rag Doll                     SR0000715100   UMG RECORDINGS, INC.
       476 Diana Krall                            Here Lies Love                    SR0000715100   UMG RECORDINGS, INC.
                                                  I Can't Give You Anything But
       477 Diana Krall                            Love                              SR0000186505   UMG RECORDINGS, INC.
       478 Diana Krall                            I've Got You Under My Skin        SR0000186505   UMG RECORDINGS, INC.
       479 Diana Krall                            Let It Rain                       SR0000715100   UMG RECORDINGS, INC.
       480 Diana Krall                            Let's Fall In Love                SR0000186505   UMG RECORDINGS, INC.
       481 Diana Krall                            Pick Yourself Up                  SR0000186505   UMG RECORDINGS, INC.
       482 Diana Krall                            Prairie Lullaby                   SR0000715100   UMG RECORDINGS, INC.

                                                  There Ain't No Sweet Man That's
       483 Diana Krall                            Worth The Salt Of My Tears        SR0000710484   UMG RECORDINGS, INC.
       484 Diana Krall                            When I Look In Your Eyes          SR0000186505   UMG RECORDINGS, INC.
       485 Diana Krall                            When The Curtain Comes Down       SR0000715100   UMG RECORDINGS, INC.
       486 Diana Krall                            Wide River To Cross               SR0000715100   UMG RECORDINGS, INC.
       487 Disclosure                             Confess To Me                     SR0000724303   UMG RECORDINGS, INC.
       488 Disclosure                             Defeated No More                  SR0000724303   UMG RECORDINGS, INC.
       489 Disclosure                             F For You                         SR0000724303   UMG RECORDINGS, INC.
       490 Disclosure                             Grab Her!                         SR0000724303   UMG RECORDINGS, INC.
       491 Disclosure                             Intro                             SR0000724303   UMG RECORDINGS, INC.
       492 Disclosure                             January                           SR0000724303   UMG RECORDINGS, INC.
       493 Disclosure                             Running (Disclosure Remix)        SR0000724635   UMG RECORDINGS, INC.
       494 Disclosure                             Second Chance                     SR0000724303   UMG RECORDINGS, INC.
       495 Disclosure                             Stimulation                       SR0000724303   UMG RECORDINGS, INC.
       496 Disclosure                             Tenderly                          SR0000724635   UMG RECORDINGS, INC.
       497 Disclosure                             Voices                            SR0000724303   UMG RECORDINGS, INC.
       498 Disclosure                             What's In Your Head               SR0000724635   UMG RECORDINGS, INC.
       499 Disclosure                             When A Fire Starts To Burn        SR0000724303   UMG RECORDINGS, INC.
       500 Disclosure ft. London Grammar          Help Me Lose My Mind              SR0000724303   UMG RECORDINGS, INC.
       501 DNCE                                   Almost                            SR0000784331   UMG RECORDINGS, INC.
       502 DNCE                                   Be Mean                           SR0000784336   UMG RECORDINGS, INC.
       503 DNCE                                   Blown                             SR0000784334   UMG RECORDINGS, INC.
       504 DNCE                                   Body Moves                        SR0000784332   UMG RECORDINGS, INC.
       505 DNCE                                   Cake By The Ocean                 SR0000774621   UMG RECORDINGS, INC.
       506 DNCE                                   DNCE                              SR0000784331   UMG RECORDINGS, INC.
       507 DNCE                                   Doctor You                        SR0000784331   UMG RECORDINGS, INC.
       508 DNCE                                   Good Day                          SR0000784335   UMG RECORDINGS, INC.
       509 DNCE                                   Naked                             SR0000784331   UMG RECORDINGS, INC.
       510 DNCE                                   Pay My Rent                       SR0000776452   UMG RECORDINGS, INC.
       511 DNCE                                   Toothbrush                        SR0000776452   UMG RECORDINGS, INC.



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           Artist                                 Track                           Reg. No.        Plaintiff
       512 DNCE                                   Truthfully                      SR0000784331    UMG RECORDINGS, INC.
       513 DNCE                                   Unsweet                         SR0000784331    UMG RECORDINGS, INC.
       514 DNCE                                   Zoom                            SR0000784331    UMG RECORDINGS, INC.
       515 Don Henley                             A Month Of Sundays              SR0000057993    UMG RECORDINGS, INC.
       516 Don Henley                             All She Wants To Do Is Dance    SR0000059611    UMG RECORDINGS, INC.
       517 Don Henley                             Building The Perfect Beast      SR0000059611    UMG RECORDINGS, INC.
       518 Don Henley                             Drivin' With Your Eyes Closed   SR0000059611    UMG RECORDINGS, INC.
       519 Don Henley                             Gimme What You Got              SR0000107166    UMG RECORDINGS, INC.
       520 Don Henley                             How Bad Do You Want It?         SR0000107166    UMG RECORDINGS, INC.
       521 Don Henley                             I Will Not Go Quietly           SR0000107166    UMG RECORDINGS, INC.
       522 Don Henley                             If Dirt Were Dollars            SR0000107166    UMG RECORDINGS, INC.
       523 Don Henley                             Land Of The Living              SR0000059611    UMG RECORDINGS, INC.
       524 Don Henley                             Man With A Mission              SR0000059611    UMG RECORDINGS, INC.
       525 Don Henley                             New York Minute                 SR0000107166    UMG RECORDINGS, INC.
       526 Don Henley                             Not Enough Love In The World    SR0000059611    UMG RECORDINGS, INC.
       527 Don Henley                             Shangri-La                      SR0000107166    UMG RECORDINGS, INC.
       528 Don Henley                             Sunset Grill                    SR0000059611    UMG RECORDINGS, INC.
       529 Don Henley                             The Boys Of Summer              SR0000057993    UMG RECORDINGS, INC.
       530 Don Henley                             The End Of The Innocence        SR0000107166    UMG RECORDINGS, INC.
       531 Don Henley                             The Heart Of The Matter         SR0000107166    UMG RECORDINGS, INC.
       532 Don Henley                             The Last Worthless Evening      SR0000107166    UMG RECORDINGS, INC.
       533 Don Henley                             You Can't Make Love             SR0000059611    UMG RECORDINGS, INC.
       534 Don Henley                             You're Not Drinking Enough      SR0000059611    UMG RECORDINGS, INC.
       535 Eminem                                 '97 Bonnie & Clyde              SR0000262686    UMG RECORDINGS, INC.
       536 Eminem                                 As The World Turns              SR0000262686    UMG RECORDINGS, INC.

       537 Eminem                                 Asshole                         SR0000735449    UMG RECORDINGS, INC.

       538 Eminem                                 Baby                            SR0000735449    UMG RECORDINGS, INC.

       539 Eminem                                 Bad Guy                         SR0000735449    UMG RECORDINGS, INC.
       540 Eminem                                 Bad Meets Evil                  SR0000262686    UMG RECORDINGS, INC.

       541 Eminem                                 Beautiful Pain                  SR0000735449    UMG RECORDINGS, INC.
                                                                                  SR0000262686;
       542 Eminem                                 Brain Damage                    SR0000250999    UMG RECORDINGS, INC.

       543 Eminem                                 Brainless                       SR0000735449    UMG RECORDINGS, INC.
       544 Eminem                                 Come On Everybody               SR0000262686    UMG RECORDINGS, INC.
                                                                                  SR0000280854;
       545 Eminem                                 Criminal                        SR0000287944    UMG RECORDINGS, INC.
       546 Eminem                                 Cum On Everybody (Explicit)     SR0000262686    UMG RECORDINGS, INC.

       547 Eminem                                 Desperation                     SR0000735449    UMG RECORDINGS, INC.

       548 Eminem                                 Don't Front                     SR0000732270    UMG RECORDINGS, INC.
                                                                                  SR0000280854;
       549 Eminem                                 Drug Ballad                     SR0000287944    UMG RECORDINGS, INC.

       550 Eminem                                 Evil Twin                       SR0000735449    UMG RECORDINGS, INC.

       551 Eminem                                 Groundhog Day                   SR0000735449    UMG RECORDINGS, INC.

       552 Eminem                                 Headlights                      SR0000735449    UMG RECORDINGS, INC.
                                                                                  SR0000280854;
       553 Eminem                                 I'm Back                        SR0000287944    UMG RECORDINGS, INC.
       554 Eminem                                 I'm Shady                       SR0000262686    UMG RECORDINGS, INC.
       555 Eminem                                 If I Had                        SR0000262686    UMG RECORDINGS, INC.



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           Artist                                 Track                            Reg. No.        Plaintiff
       556 Eminem                                 Kill You                         SR0000287944    UMG RECORDINGS, INC.
       557 Eminem                                 Kim                              SR0000287944    UMG RECORDINGS, INC.

       558 Eminem                                 Legacy                           SR0000735449    UMG RECORDINGS, INC.
       559 Eminem                                 Lounge                           SR0000262686    UMG RECORDINGS, INC.

       560 Eminem                                 Love Game                        SR0000735449    UMG RECORDINGS, INC.
                                                                                   SR0000280854;
       561 Eminem                                 Marshall Mathers                 SR0000287944    UMG RECORDINGS, INC.

       562 Eminem                                 Parking Lot                      SR0000735449    UMG RECORDINGS, INC.
       563 Eminem                                 Public Service Announcement      SR0000262686    UMG RECORDINGS, INC.
                                                                                   SR0000280854;
       564 Eminem                                 Remember Me?                     SR0000287944    UMG RECORDINGS, INC.

       565 Eminem                                 Rhyme Or Reason                  SR0000735449    UMG RECORDINGS, INC.
       566 Eminem                                 Rock Bottom                      SR0000262686    UMG RECORDINGS, INC.
       567 Eminem                                 Role Model                       SR0000262686    UMG RECORDINGS, INC.

       568 Eminem                                 So Far...                        SR0000735449    UMG RECORDINGS, INC.

       569 Eminem                                 So Much Better                   SR0000735449    UMG RECORDINGS, INC.
       570 Eminem                                 Soap                             SR0000262686    UMG RECORDINGS, INC.
                                                                                   SR0000280854;
       571 Eminem                                 Stan                             SR0000287944    UMG RECORDINGS, INC.
       572 Eminem                                 Steve Berman                     SR0000317924    UMG RECORDINGS, INC.

       573 Eminem                                 Stronger Than I Was              SR0000735449    UMG RECORDINGS, INC.
                                                                                   SR0000280854;
       574 Eminem                                 Under The Influence              SR0000287944    UMG RECORDINGS, INC.
                                                                                   SR0000280854;
       575 Eminem                                 Who Knew                         SR0000287944    UMG RECORDINGS, INC.

       576 Eminem                                 Wicked Ways/Silence/Ken (skit)   SR0000735449    UMG RECORDINGS, INC.
       577 Eminem ft. Bizarre                     Amityville                       SR0000287944    UMG RECORDINGS, INC.
       578 Eminem ft. Dr. Dre, Snoop Dogg, Xzibit,Bitch
                                                   NatePlease
                                                         Dogg II                   SR0000287944    UMG RECORDINGS, INC.
       579 Eminem, Aristotle, Mark Bass           Ken Kaniff                       SR0000262686    UMG RECORDINGS, INC.
       580 Etta James                             Boondocks                        SR0000689346    UMG RECORDINGS, INC.
       581 Etta James                             Champagne & Wine                 SR0000689346    UMG RECORDINGS, INC.
       582 Etta James                             Cigarettes & Coffee              SR0000689346    UMG RECORDINGS, INC.
       583 Etta James                             Dreamer                          SR0000689346    UMG RECORDINGS, INC.
       584 Etta James                             Groove Me                        SR0000689346    UMG RECORDINGS, INC.
       585 Etta James                             In The Evening                   SR0000689346    UMG RECORDINGS, INC.
       586 Etta James                             Let Me Down Easy                 SR0000689346    UMG RECORDINGS, INC.
       587 Etta James                             That's The Chance You Take       SR0000689346    UMG RECORDINGS, INC.
       588 Etta James                             Too Tired                        SR0000689346    UMG RECORDINGS, INC.
       589 Etta James                             Welcome To The Jungle            SR0000689346    UMG RECORDINGS, INC.
       590 Florence & The Machine                 Breaking Down (Acoustic)         SR0000687601    UMG RECORDINGS, INC.
       591 Florence & The Machine                 Heartlines (Acoustic)            SR0000687601    UMG RECORDINGS, INC.
       592 Florence & The Machine                 Shake It Out (Acoustic)          SR0000687601    UMG RECORDINGS, INC.
       593 Florence + The Machine                 All This And Heaven Too          SR0000687601    UMG RECORDINGS, INC.
       594 Florence + The Machine                 Bedroom Hymns                    SR0000687601    UMG RECORDINGS, INC.
       595 Florence + The Machine                 Bird Song                        SR0000637279    UMG RECORDINGS, INC.
       596 Florence + The Machine                 Bird Song Intro                  SR0000637279    UMG RECORDINGS, INC.
       597 Florence + The Machine                 Breaking Down                    SR0000687601    UMG RECORDINGS, INC.
       598 Florence + The Machine                 Caught                           SR0000768599    UMG RECORDINGS, INC.
       599 Florence + The Machine                 Delilah                          SR0000768602    UMG RECORDINGS, INC.
       600 Florence + The Machine                 Drumming Song                    SR0000645045    UMG RECORDINGS, INC.



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           Artist                                 Track                                Reg. No.       Plaintiff
       601 Florence + The Machine                 Falling                              SR0000637279   UMG RECORDINGS, INC.
       602 Florence + The Machine                 Ghosts                               SR0000645045   UMG RECORDINGS, INC.
       603 Florence + The Machine                 Hardest Of Hearts                    SR0000645045   UMG RECORDINGS, INC.
       604 Florence + The Machine                 Heartlines                           SR0000687601   UMG RECORDINGS, INC.
       605 Florence + The Machine                 Heavy In Your Arms                   SR0000645045   UMG RECORDINGS, INC.
       606 Florence + The Machine                 Hiding                               SR0000768599   UMG RECORDINGS, INC.
                                                  How Big, How Blue, How
       607 Florence + The Machine                 Beautiful                            SR0000768599   UMG RECORDINGS, INC.
       608 Florence + The Machine                 Kiss With A Fist                     SR0000645045   UMG RECORDINGS, INC.
       609 Florence + The Machine                 Landscape                            SR0000687601   UMG RECORDINGS, INC.
       610 Florence + The Machine                 Leave My Body                        SR0000687601   UMG RECORDINGS, INC.
       611 Florence + The Machine                 Long & Lost                          SR0000768599   UMG RECORDINGS, INC.
       612 Florence + The Machine                 Lover To Lover                       SR0000687601   UMG RECORDINGS, INC.
       613 Florence + The Machine                 Make Up Your Mind                    SR0000768599   UMG RECORDINGS, INC.
       614 Florence + The Machine                 Mother                               SR0000768599   UMG RECORDINGS, INC.
       615 Florence + The Machine                 Never Let Me Go                      SR0000687601   UMG RECORDINGS, INC.
       616 Florence + The Machine                 No Light, No Light                   SR0000687601   UMG RECORDINGS, INC.
       617 Florence + The Machine                 Only If For A Night                  SR0000687601   UMG RECORDINGS, INC.
       618 Florence + The Machine                 Queen Of Peace                       SR0000768599   UMG RECORDINGS, INC.
       619 Florence + The Machine                 Remain Nameless                      SR0000687601   UMG RECORDINGS, INC.
       620 Florence + The Machine                 Seven Devils                         SR0000687601   UMG RECORDINGS, INC.
       621 Florence + The Machine                 Shake It Out                         SR0000687606   UMG RECORDINGS, INC.
       622 Florence + The Machine                 Ship To Wreck                        SR0000768601   UMG RECORDINGS, INC.
       623 Florence + The Machine                 Spectrum                             SR0000687601   UMG RECORDINGS, INC.
       624 Florence + The Machine                 St Jude                              SR0000768600   UMG RECORDINGS, INC.
       625 Florence + The Machine                 Strangeness And Charm                SR0000645045   UMG RECORDINGS, INC.
       626 Florence + The Machine                 Swimming                             SR0000637279   UMG RECORDINGS, INC.
       627 Florence + The Machine                 Third Eye                            SR0000768599   UMG RECORDINGS, INC.
       628 Florence + The Machine                 Various Storms & Saints              SR0000768599   UMG RECORDINGS, INC.
       629 Florence + The Machine                 What Kind Of Man                     SR0000759768   UMG RECORDINGS, INC.
       630 Florence + The Machine                 What The Water Gave Me               SR0000687601   UMG RECORDINGS, INC.
       631 Florence + The Machine                 Which Witch                          SR0000768599   UMG RECORDINGS, INC.
       632 Florida Georgia Line                   Cruise                               SR0000708128   UMG RECORDINGS, INC.
       633 Florida Georgia Line                   Dayum, Baby                          SR0000712829   UMG RECORDINGS, INC.
       634 Florida Georgia Line                   Get Your Shine On                    SR0000708128   UMG RECORDINGS, INC.
       635 Florida Georgia Line                   Hell Raisin' Heat Of The Summer      SR0000712829   UMG RECORDINGS, INC.
       636 Florida Georgia Line                   Here's To The Good Times             SR0000712829   UMG RECORDINGS, INC.
       637 Florida Georgia Line                   It'z Just What We Do                 SR0000708128   UMG RECORDINGS, INC.
       638 Florida Georgia Line                   Party People                         SR0000712829   UMG RECORDINGS, INC.
       639 Florida Georgia Line                   Round Here                           SR0000712829   UMG RECORDINGS, INC.
       640 Florida Georgia Line                   Stay                                 SR0000712829   UMG RECORDINGS, INC.
       641 Florida Georgia Line                   Tell Me How You Like It              SR0000708128   UMG RECORDINGS, INC.
       642 Florida Georgia Line                   Tip It Back                          SR0000708128   UMG RECORDINGS, INC.
       643 George Strait                          Blue Melodies                        SR0000721937   UMG RECORDINGS, INC.
       644 George Strait                          Give It All We Got Tonight           SR0000712472   UMG RECORDINGS, INC.
       645 George Strait                          I Believe                            SR0000721937   UMG RECORDINGS, INC.
       646 George Strait                          I Got A Car                          SR0000721937   UMG RECORDINGS, INC.
       647 George Strait                          I Just Can't Go On Dying Like This   SR0000721937   UMG RECORDINGS, INC.
       648 George Strait                          I Thought I Heard My Heart Sing      SR0000721937   UMG RECORDINGS, INC.
       649 George Strait                          Love Is Everything                   SR0000721937   UMG RECORDINGS, INC.
       650 George Strait                          Sittin' On The Fence                 SR0000721937   UMG RECORDINGS, INC.
       651 George Strait                          That's What Breaking Hearts Do       SR0000721937   UMG RECORDINGS, INC.
       652 George Strait                          The Night Is Young                   SR0000721937   UMG RECORDINGS, INC.
       653 George Strait                          When Love Comes Around Again         SR0000721937   UMG RECORDINGS, INC.
       654 George Strait                          When The Credits Roll                SR0000721937   UMG RECORDINGS, INC.
                                                  You Don't Know What You're
       655 George Strait                          Missing                              SR0000721937   UMG RECORDINGS, INC.
       656 Ghostface Killah                       You Know I'm No Good                 SR0000403986   UMG RECORDINGS, INC.



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           Artist                                 Track                           Reg. No.        Plaintiff
       657 Glenn Frey                             Brave New World                 SR0000143984    UMG RECORDINGS, INC.
                                                  Call On Me (Theme From "South
       658 Glenn Frey                             Of Sunset")                     SR0000191187    UMG RECORDINGS, INC.
       659 Glenn Frey                             Common Ground                   SR0000191187    UMG RECORDINGS, INC.
       660 Glenn Frey                             I've Got Mine                   SR0000143984    UMG RECORDINGS, INC.
       661 Glenn Frey                             Part Of Me, Part Of You         SR0000130891    UMG RECORDINGS, INC.
       662 Glenn Frey                             Rising Sun                      SR0000143984    UMG RECORDINGS, INC.
       663 Glenn Frey                             River Of Dreams                 SR0000143984    UMG RECORDINGS, INC.
       664 Glenn Frey                             Sexy Girl                       SR0000056451    UMG RECORDINGS, INC.
       665 Glenn Frey                             Soul Searchin'                  SR0000097838    UMG RECORDINGS, INC.
       666 Glenn Frey                             The One You Love                SR0000038272    UMG RECORDINGS, INC.
       667 Glenn Frey                             This Way To Happiness           SR0000191187    UMG RECORDINGS, INC.
       668 Glenn Frey                             True Love                       SR0000094352    UMG RECORDINGS, INC.
       669 Glenn Frey                             Who's Been Sleeping In My Bed   SR0000191187    UMG RECORDINGS, INC.
       670 Glenn Frey                             You Belong To The City          SR0000079195    UMG RECORDINGS, INC.
       671 Gotye                                  Dig Your Own Hole               SR0000692982    UMG RECORDINGS, INC.
       672 Guns N' Roses                          14 Years                        SR0000134648    UMG RECORDINGS, INC.
       673 Guns N' Roses                          Ain't It Fun                    SR0000172390    UMG RECORDINGS, INC.
       674 Guns N' Roses                          Anything Goes                   SR0000085358    UMG RECORDINGS, INC.
       675 Guns N' Roses                          Attitude                        SR0000172390    UMG RECORDINGS, INC.
       676 Guns N' Roses                          Back Off Bitch                  SR0000134647    UMG RECORDINGS, INC.
                                                                                  SR0000134647;
       677 Guns N' Roses                          Bad Apples                      SRu000206052    UMG RECORDINGS, INC.
       678 Guns N' Roses                          Bad Obsession                   SR0000134647    UMG RECORDINGS, INC.
       679 Guns N' Roses                          Better                          SR0000622777    UMG RECORDINGS, INC.
       680 Guns N' Roses                          Black Leather                   SR0000172390    UMG RECORDINGS, INC.
       681 Guns N' Roses                          Breakdown                       SR0000134648    UMG RECORDINGS, INC.
       682 Guns N' Roses                          Buick Makane / Big Dumb Sex     SR0000172390    UMG RECORDINGS, INC.
       683 Guns N' Roses                          Catcher In The Rye              SR0000622777    UMG RECORDINGS, INC.
       684 Guns N' Roses                          Chinese Democracy               SR0000622777    UMG RECORDINGS, INC.
       685 Guns N' Roses                          Civil War                       SR0000134648    UMG RECORDINGS, INC.
       686 Guns N' Roses                          Coma                            SR0000134647    UMG RECORDINGS, INC.
       687 Guns N' Roses                          Don't Cry                       SR0000134647    UMG RECORDINGS, INC.
       688 Guns N' Roses                          Don't Damn Me                   SR0000134647    UMG RECORDINGS, INC.
       689 Guns N' Roses                          Double Talkin' Jive             SR0000134647    UMG RECORDINGS, INC.
       690 Guns N' Roses                          Down On The Farm                SR0000172390    UMG RECORDINGS, INC.
       691 Guns N' Roses                          Dust N' Bones                   SR0000134647    UMG RECORDINGS, INC.
       692 Guns N' Roses                          Estranged                       SR0000134648    UMG RECORDINGS, INC.
       693 Guns N' Roses                          Garden Of Eden                  SR0000134647    UMG RECORDINGS, INC.
       694 Guns N' Roses                          Get In The Ring                 SR0000134648    UMG RECORDINGS, INC.
       695 Guns N' Roses                          Hair Of The Dog                 SR0000172390    UMG RECORDINGS, INC.
       696 Guns N' Roses                          Human Being                     SR0000172390    UMG RECORDINGS, INC.
       697 Guns N' Roses                          I Don't Care About You          SR0000172390    UMG RECORDINGS, INC.
       698 Guns N' Roses                          I.R.S.                          SR0000622777    UMG RECORDINGS, INC.
       699 Guns N' Roses                          If The World                    SR0000622777    UMG RECORDINGS, INC.
       700 Guns N' Roses                          It's So Easy                    SR0000085358    UMG RECORDINGS, INC.
       701 Guns N' Roses                          Knockin' On Heaven's Door       SR0000134648    UMG RECORDINGS, INC.
       702 Guns N' Roses                          Live And Let Die                SR0000134647    UMG RECORDINGS, INC.
       703 Guns N' Roses                          Locomotive (Complicity)         SR0000134648    UMG RECORDINGS, INC.
       704 Guns N' Roses                          Madagascar                      SR0000622777    UMG RECORDINGS, INC.
       705 Guns N' Roses                          Mr. Brownstone                  SR0000085358    UMG RECORDINGS, INC.
       706 Guns N' Roses                          My Michelle                     SR0000085358    UMG RECORDINGS, INC.
       707 Guns N' Roses                          My World                        SR0000134648    UMG RECORDINGS, INC.
       708 Guns N' Roses                          New Rose                        SR0000172390    UMG RECORDINGS, INC.
       709 Guns N' Roses                          Nightrain                       SR0000085358    UMG RECORDINGS, INC.
       710 Guns N' Roses                          November Rain                   SR0000134647    UMG RECORDINGS, INC.
       711 Guns N' Roses                          Out Ta Get Me                   SR0000085358    UMG RECORDINGS, INC.
       712 Guns N' Roses                          Paradise City                   SR0000085358    UMG RECORDINGS, INC.



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           Artist                                 Track                              Reg. No.       Plaintiff
       713 Guns N' Roses                          Patience                           SR0000101117   UMG RECORDINGS, INC.
       714 Guns N' Roses                          Perfect Crime                      SR0000134647   UMG RECORDINGS, INC.
                                                  Pretty Tied Up (The Perils Of Rock
       715 Guns N' Roses                          N' Roll Decadence)                 SR0000134648   UMG RECORDINGS, INC.
       716 Guns N' Roses                          Prostitute                         SR0000622777   UMG RECORDINGS, INC.
       717 Guns N' Roses                          Raw Power                          SR0000172390   UMG RECORDINGS, INC.
       718 Guns N' Roses                          Riad N' The Bedouins               SR0000622777   UMG RECORDINGS, INC.
       719 Guns N' Roses                          Right Next Door To Hell            SR0000134647   UMG RECORDINGS, INC.
       720 Guns N' Roses                          Rocket Queen                       SR0000085358   UMG RECORDINGS, INC.
       721 Guns N' Roses                          Scraped                            SR0000622777   UMG RECORDINGS, INC.
       722 Guns N' Roses                          Shackler's Revenge                 SR0000622777   UMG RECORDINGS, INC.
       723 Guns N' Roses                          Shotgun Blues                      SR0000134648   UMG RECORDINGS, INC.
       724 Guns N' Roses                          Since I Don't Have You             SR0000172390   UMG RECORDINGS, INC.
       725 Guns N' Roses                          So Fine                            SR0000134648   UMG RECORDINGS, INC.
       726 Guns N' Roses                          Sorry                              SR0000622777   UMG RECORDINGS, INC.
       727 Guns N' Roses                          Street Of Dreams                   SR0000622777   UMG RECORDINGS, INC.
       728 Guns N' Roses                          Sweet Child O' Mine                SR0000085358   UMG RECORDINGS, INC.
       729 Guns N' Roses                          The Garden                         SR0000134647   UMG RECORDINGS, INC.
       730 Guns N' Roses                          There Was A Time                   SR0000622777   UMG RECORDINGS, INC.
       731 Guns N' Roses                          Think About You                    SR0000085358   UMG RECORDINGS, INC.
       732 Guns N' Roses                          This I Love                        SR0000622777   UMG RECORDINGS, INC.
       733 Guns N' Roses                          Used To Love Her                   SR0000101117   UMG RECORDINGS, INC.
       734 Guns N' Roses                          Welcome To The Jungle              SR0000085358   UMG RECORDINGS, INC.
       735 Guns N' Roses                          Yesterdays                         SR0000134648   UMG RECORDINGS, INC.
       736 Guns N' Roses                          You Ain't The First                SR0000134647   UMG RECORDINGS, INC.
                                                  You Can't Put Your Arms Around A
       737 Guns N' Roses                          Memory                             SR0000172390   UMG RECORDINGS, INC.
       738 Guns N' Roses                          You Could Be Mine                  SR0000134648   UMG RECORDINGS, INC.
       739 Guns N' Roses                          You're Crazy                       SR0000085358   UMG RECORDINGS, INC.


       740 Iggy Azalea                            100                             SR0000748652      UMG RECORDINGS, INC.


       741 Iggy Azalea                            Black Widow                     SR0000748652      UMG RECORDINGS, INC.
       742 Iggy Azalea                            Bounce                          SR0000733363      UMG RECORDINGS, INC.
       743 Iggy Azalea                            Change Your Life                SR0000733363      UMG RECORDINGS, INC.


       744 Iggy Azalea                            Don't Need Y'all                SR0000748652      UMG RECORDINGS, INC.


       745 Iggy Azalea                            Fuck Love                       SR0000748652      UMG RECORDINGS, INC.


       746 Iggy Azalea                            Goddess                         SR0000748652      UMG RECORDINGS, INC.


       747 Iggy Azalea                            Impossible Is Nothing           SR0000748652      UMG RECORDINGS, INC.


       748 Iggy Azalea                            Just Askin'                     SR0000748652      UMG RECORDINGS, INC.


       749 Iggy Azalea                            Lady Patra                      SR0000748652      UMG RECORDINGS, INC.


       750 Iggy Azalea                            New Bitch                       SR0000748652      UMG RECORDINGS, INC.



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           Artist                                 Track                            Reg. No.       Plaintiff


       751 Iggy Azalea                            New Chick                        SR0000748652   UMG RECORDINGS, INC.


       752 Iggy Azalea                            Rolex                            SR0000748652   UMG RECORDINGS, INC.


       753 Iggy Azalea                            Walk The Line                    SR0000748652   UMG RECORDINGS, INC.
       754 Iggy Azalea feat. Charli XCX           Fancy                            SR0000748651   UMG RECORDINGS, INC.
       755 Imagine Dragons                        Amsterdam                        SR0000707482   UMG RECORDINGS, INC.
       756 Imagine Dragons                        Battle Cry                       SR0000745068   UMG RECORDINGS, INC.
       757 Imagine Dragons                        Bleeding Out                     SR0000707482   UMG RECORDINGS, INC.
       758 Imagine Dragons                        Cha-Ching (Till We Grow Older)   SR0000706681   UMG RECORDINGS, INC.
       759 Imagine Dragons                        Cover Up                         SR0000717800   UMG RECORDINGS, INC.
       760 Imagine Dragons                        Dream                            SR0000791028   UMG RECORDINGS, INC.
       761 Imagine Dragons                        Every Night                      SR0000707482   UMG RECORDINGS, INC.
       762 Imagine Dragons                        Friction                         SR0000791028   UMG RECORDINGS, INC.
       763 Imagine Dragons                        Gold                             SR0000791030   UMG RECORDINGS, INC.
       764 Imagine Dragons                        Hear Me                          SR0000707482   UMG RECORDINGS, INC.
       765 Imagine Dragons                        Hopeless Opus                    SR0000791028   UMG RECORDINGS, INC.
       766 Imagine Dragons                        I Bet My Life                    SR0000752778   UMG RECORDINGS, INC.
       767 Imagine Dragons                        I Don't Mind                     SR0000717800   UMG RECORDINGS, INC.
       768 Imagine Dragons                        I'm So Sorry                     SR0000791028   UMG RECORDINGS, INC.
       769 Imagine Dragons                        It Comes Back To You             SR0000791028   UMG RECORDINGS, INC.
       770 Imagine Dragons                        Monster                          SR0000730378   UMG RECORDINGS, INC.
       771 Imagine Dragons                        Nothing Left To Say / Rocks      SR0000707482   UMG RECORDINGS, INC.
       772 Imagine Dragons                        On Top Of The World              SR0000695196   UMG RECORDINGS, INC.
       773 Imagine Dragons                        Polaroid                         SR0000791028   UMG RECORDINGS, INC.
       774 Imagine Dragons                        Release                          SR0000791028   UMG RECORDINGS, INC.
       775 Imagine Dragons                        Second Chances                   SR0000791028   UMG RECORDINGS, INC.
       776 Imagine Dragons                        Shots                            SR0000791029   UMG RECORDINGS, INC.
       777 Imagine Dragons                        Smoke And Mirrors                SR0000791028   UMG RECORDINGS, INC.
       778 Imagine Dragons                        Summer                           SR0000791028   UMG RECORDINGS, INC.
       779 Imagine Dragons                        The Fall                         SR0000791028   UMG RECORDINGS, INC.
       780 Imagine Dragons                        The Unknown                      SR0000791028   UMG RECORDINGS, INC.
       781 Imagine Dragons                        Thief                            SR0000791028   UMG RECORDINGS, INC.
       782 Imagine Dragons                        Tiptoe                           SR0000707482   UMG RECORDINGS, INC.
       783 Imagine Dragons                        Trouble                          SR0000791028   UMG RECORDINGS, INC.
       784 Imagine Dragons                        Underdog                         SR0000707482   UMG RECORDINGS, INC.
       785 Imagine Dragons                        Warriors                         SR0000750136   UMG RECORDINGS, INC.
       786 Imagine Dragons                        Who We Are                       SR0000743413   UMG RECORDINGS, INC.
       787 India Arie                             Outro                            SR0000295599   UMG RECORDINGS, INC.
       788 India Arie                             Part Of My Life                  SR0000295599   UMG RECORDINGS, INC.
       789 India Arie                             Strength Courage & Wisdom        SR0000295599   UMG RECORDINGS, INC.
       790 India.Arie                             Always In My Head                SR0000295599   UMG RECORDINGS, INC.
       791 India.Arie                             Back To The Middle               SR0000295599   UMG RECORDINGS, INC.
       792 India.Arie                             Beautiful                        SR0000295599   UMG RECORDINGS, INC.
       793 India.Arie                             Brown Skin                       SR0000295599   UMG RECORDINGS, INC.
       794 India.Arie                             I See God In You                 SR0000295599   UMG RECORDINGS, INC.
       795 India.Arie                             Interlude                        SR0000295599   UMG RECORDINGS, INC.
       796 India.Arie                             Intro                            SR0000295599   UMG RECORDINGS, INC.
       797 India.Arie                             Nature                           SR0000295599   UMG RECORDINGS, INC.
       798 India.Arie                             Promises                         SR0000295599   UMG RECORDINGS, INC.
       799 India.Arie                             Ready For Love                   SR0000295599   UMG RECORDINGS, INC.
       800 India.Arie                             Simple                           SR0000295599   UMG RECORDINGS, INC.
       801 India.Arie                             Wonderful                        SR0000295599   UMG RECORDINGS, INC.
       802 Jamey Johnson                          By The Seat Of Your Pants        SR0000661553   UMG RECORDINGS, INC.



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           Artist                                 Track                         Reg. No.       Plaintiff
       803 Jamey Johnson                          California Riots              SR0000661553   UMG RECORDINGS, INC.
       804 Jamey Johnson                          Can't Cash My Checks          SR0000661553   UMG RECORDINGS, INC.
       805 Jamey Johnson                          Cover Your Eyes               SR0000661553   UMG RECORDINGS, INC.
       806 Jamey Johnson                          Dog In The Yard               SR0000661553   UMG RECORDINGS, INC.
       807 Jamey Johnson                          Don't Touch Me                SR0000710037   UMG RECORDINGS, INC.
       808 Jamey Johnson                          Even The Skies Are Blue       SR0000661553   UMG RECORDINGS, INC.
       809 Jamey Johnson                          For The Good Times            SR0000661553   UMG RECORDINGS, INC.
       810 Jamey Johnson                          Front Porch Swing Afternoon   SR0000661553   UMG RECORDINGS, INC.
       811 Jamey Johnson                          Good Morning Sunrise          SR0000661553   UMG RECORDINGS, INC.
                                                  Good Times Ain't What They
       812 Jamey Johnson                          Used To Be                    SR0000661553   UMG RECORDINGS, INC.
       813 Jamey Johnson                          Heartache                     SR0000661553   UMG RECORDINGS, INC.
       814 Jamey Johnson                          Heaven Bound                  SR0000661553   UMG RECORDINGS, INC.
       815 Jamey Johnson                          I Don't Do Windows            SR0000710037   UMG RECORDINGS, INC.
       816 Jamey Johnson                          I Fall To Pieces              SR0000710037   UMG RECORDINGS, INC.
       817 Jamey Johnson                          I Remember You                SR0000661553   UMG RECORDINGS, INC.
       818 Jamey Johnson                          I'd Fight The World           SR0000710037   UMG RECORDINGS, INC.
       819 Jamey Johnson                          Lonely At The Top             SR0000661553   UMG RECORDINGS, INC.
       820 Jamey Johnson                          Love Makes A Fool Of Us All   SR0000710037   UMG RECORDINGS, INC.
       821 Jamey Johnson                          Macon                         SR0000659169   UMG RECORDINGS, INC.
       822 Jamey Johnson                          Make The World Go Away        SR0000710037   UMG RECORDINGS, INC.
       823 Jamey Johnson                          Mental Revenge                SR0000661553   UMG RECORDINGS, INC.
       824 Jamey Johnson                          My Way To You                 SR0000634236   UMG RECORDINGS, INC.
       825 Jamey Johnson                          Playing The Part              SR0000661553   UMG RECORDINGS, INC.
       826 Jamey Johnson                          Poor Man Blues                SR0000661553   UMG RECORDINGS, INC.
       827 Jamey Johnson                          Set 'Em Up Joe                SR0000661553   UMG RECORDINGS, INC.
       828 Jamey Johnson                          She'll Be Back                SR0000710037   UMG RECORDINGS, INC.
       829 Jamey Johnson                          Thankful For The Rain         SR0000661553   UMG RECORDINGS, INC.
       830 Jamey Johnson                          That's How I Don't Love You   SR0000661553   UMG RECORDINGS, INC.
       831 Jamey Johnson                          That's Why I Write Songs      SR0000661553   UMG RECORDINGS, INC.
       832 Jamey Johnson                          The Eagle                     SR0000710037   UMG RECORDINGS, INC.
       833 Jamey Johnson                          The Guitar Song               SR0000661553   UMG RECORDINGS, INC.
       834 Jamey Johnson                          This Ain't My First Rodeo     SR0000710037   UMG RECORDINGS, INC.
                                                  Would These Arms Be In Your
       835 Jamey Johnson                          Way                           SR0000710037   UMG RECORDINGS, INC.
       836 Jamey Johnson                          You Wouldn't Know Love        SR0000710037   UMG RECORDINGS, INC.
       837 Janet Jackson                          Control                       SR0000069529   UMG RECORDINGS, INC.
                                                  Funny How Time Flies (When
       838 Janet Jackson                          You're Having Fun)            SR0000069529   UMG RECORDINGS, INC.
       839 Janet Jackson                          He Doesn't Know I'm Alive     SR0000069529   UMG RECORDINGS, INC.
       840 Janet Jackson                          Let's Wait Awhile             SR0000069529   UMG RECORDINGS, INC.
       841 Janet Jackson                          Nasty                         SR0000069529   UMG RECORDINGS, INC.
       842 Janet Jackson                          The Pleasure Principle        SR0000069529   UMG RECORDINGS, INC.
                                                  What Have You Done For Me
       843 Janet Jackson                          Lately                        SR0000069529   UMG RECORDINGS, INC.
       844 Janet Jackson                          When I Think Of You           SR0000069529   UMG RECORDINGS, INC.
       845 Janet Jackson                          You Can Be Mine               SR0000069529   UMG RECORDINGS, INC.
       846 Jeezy                                  All There                     SR0000782432   UMG RECORDINGS, INC.
       847 Jeezy                                  Going Crazy                   SR0000782433   UMG RECORDINGS, INC.
       848 Jeezy                                  Goldmine                      SR0000782436   UMG RECORDINGS, INC.
       849 Jeezy                                  In The Air                    SR0000782431   UMG RECORDINGS, INC.
       850 Jeezy                                  It Is What It Is              SR0000782431   UMG RECORDINGS, INC.
       851 Jeezy                                  Let Em Know                   SR0000779314   UMG RECORDINGS, INC.
       852 Jeezy                                  Like That                     SR0000782431   UMG RECORDINGS, INC.
       853 Jeezy                                  Never Settle                  SR0000782431   UMG RECORDINGS, INC.
       854 Jeezy                                  Pretty Diamonds               SR0000782431   UMG RECORDINGS, INC.
       855 Jeezy                                  Recipe                        SR0000782431   UMG RECORDINGS, INC.
       856 Jeezy                                  Sexé                          SR0000782431   UMG RECORDINGS, INC.



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           Artist                                 Track                         Reg. No.       Plaintiff
       857 Jeezy                                  So What                       SR0000782431   UMG RECORDINGS, INC.
       858 Jeezy                                  U Kno It                      SR0000782431   UMG RECORDINGS, INC.
       859 Jeezy                                  Where It At                   SR0000782431   UMG RECORDINGS, INC.
       860 Jennifer Lopez                         (What Is) LOVE?               SR0000676979   UMG RECORDINGS, INC.
       861 Jennifer Lopez                         Charge Me Up                  SR0000676979   UMG RECORDINGS, INC.
       862 Jennifer Lopez                         Everybody's Girl              SR0000676979   UMG RECORDINGS, INC.
       863 Jennifer Lopez                         Good Hit                      SR0000676979   UMG RECORDINGS, INC.
       864 Jennifer Lopez                         Hypnotico                     SR0000676979   UMG RECORDINGS, INC.
       865 Jennifer Lopez                         Invading My Mind              SR0000676979   UMG RECORDINGS, INC.
       866 Jennifer Lopez                         On The Floor                  SR0000676979   UMG RECORDINGS, INC.
       867 Jennifer Lopez                         One Love                      SR0000676979   UMG RECORDINGS, INC.
       868 Jennifer Lopez                         Run The World                 SR0000676979   UMG RECORDINGS, INC.
       869 Jennifer Lopez                         Starting Over                 SR0000676979   UMG RECORDINGS, INC.
       870 Jennifer Lopez                         Take Care                     SR0000676979   UMG RECORDINGS, INC.
       871 Jennifer Lopez                         Until It Beats No More        SR0000676979   UMG RECORDINGS, INC.
       872 Jennifer Lopez                         Ven a Bailar (On The Floor)   SR0000676980   UMG RECORDINGS, INC.
       873 Jennifer Lopez                         Villain                       SR0000676979   UMG RECORDINGS, INC.
       874 Jessie J                               Abracadabra                   SR0000674861   UMG RECORDINGS, INC.
       875 Jessie J                               Big White Room                SR0000674861   UMG RECORDINGS, INC.
       876 Jessie J                               Casualty Of Love              SR0000674864   UMG RECORDINGS, INC.
       877 Jessie J                               Do It Like A Dude             SR0000670276   UMG RECORDINGS, INC.
       878 Jessie J                               I Need This                   SR0000674861   UMG RECORDINGS, INC.
       879 Jessie J                               L.O.V.E                       SR0000674861   UMG RECORDINGS, INC.
       880 Jessie J                               LaserLight                    SR0000674861   UMG RECORDINGS, INC.
       881 Jessie J                               Mamma Knows Best              SR0000674861   UMG RECORDINGS, INC.
       882 Jessie J                               My Shadow                     SR0000674861   UMG RECORDINGS, INC.
       883 Jessie J                               Nobody's Perfect              SR0000674861   UMG RECORDINGS, INC.
       884 Jessie J                               Price Tag                     SR0000674863   UMG RECORDINGS, INC.
       885 Jessie J                               Rainbow                       SR0000674861   UMG RECORDINGS, INC.
       886 Jessie J                               Stand Up                      SR0000674861   UMG RECORDINGS, INC.
       887 Jessie J                               Who You Are                   SR0000674861   UMG RECORDINGS, INC.
       888 Jessie J                               Who's Laughing Now            SR0000674861   UMG RECORDINGS, INC.
       889 Jessie J                               Whose Laughing Now            SR0000674861   UMG RECORDINGS, INC.
       890 Jimmy Eat World                        Action Needs An Audience      SR0000663718   UMG RECORDINGS, INC.
       891 Jimmy Eat World                        Coffee And Cigarettes         SR0000663718   UMG RECORDINGS, INC.
       892 Jimmy Eat World                        Cut                           SR0000663718   UMG RECORDINGS, INC.
       893 Jimmy Eat World                        Evidence                      SR0000663718   UMG RECORDINGS, INC.
       894 Jimmy Eat World                        Heart Is Hard To Find         SR0000663718   UMG RECORDINGS, INC.
       895 Jimmy Eat World                        Higher Devotion               SR0000663718   UMG RECORDINGS, INC.
       896 Jimmy Eat World                        Littlething                   SR0000663718   UMG RECORDINGS, INC.
       897 Jimmy Eat World                        Mixtape                       SR0000663718   UMG RECORDINGS, INC.
       898 Jimmy Eat World                        Movielike                     SR0000663718   UMG RECORDINGS, INC.
       899 Jimmy Eat World                        My Best Theory                SR0000663719   UMG RECORDINGS, INC.
       900 Jimmy Eat World                        Stop                          SR0000663718   UMG RECORDINGS, INC.
       901 Justin Bieber                          All Bad                       SR0000733273   UMG RECORDINGS, INC.
       902 Justin Bieber                          All In It                     SR0000775670   UMG RECORDINGS, INC.
       903 Justin Bieber                          All That Matters              SR0000735592   UMG RECORDINGS, INC.
       904 Justin Bieber                          Backpack                      SR0000736955   UMG RECORDINGS, INC.
       905 Justin Bieber                          Bad Day                       SR0000732686   UMG RECORDINGS, INC.
       906 Justin Bieber                          Been You                      SR0000775670   UMG RECORDINGS, INC.
       907 Justin Bieber                          Change Me                     SR0000736138   UMG RECORDINGS, INC.
       908 Justin Bieber                          Children                      SR0000775670   UMG RECORDINGS, INC.
       909 Justin Bieber                          Company                       SR0000775670   UMG RECORDINGS, INC.
       910 Justin Bieber                          Confident                     SR0000736094   UMG RECORDINGS, INC.
       911 Justin Bieber                          Favorite Girl (Live)          SR0000669536   UMG RECORDINGS, INC.
       912 Justin Bieber                          Get Used To It                SR0000775670   UMG RECORDINGS, INC.
       913 Justin Bieber                          Heartbreaker                  SR0000735590   UMG RECORDINGS, INC.
       914 Justin Bieber                          Hit The Ground                SR0000775670   UMG RECORDINGS, INC.



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           Artist                                 Track                              Reg. No.        Plaintiff
       915 Justin Bieber                          Hold Tight                         SR0000735587    UMG RECORDINGS, INC.
       916 Justin Bieber                          Home To Mama                       SR0000756921    UMG RECORDINGS, INC.
       917 Justin Bieber                          I'll Show You                      SR0000775672    UMG RECORDINGS, INC.
       918 Justin Bieber                          Justin Bieber's Believe            SR0000704844    UMG RECORDINGS, INC.
       919 Justin Bieber                          Kiss And Tell                      SR0000647976    UMG RECORDINGS, INC.
       920 Justin Bieber                          Life Is Worth Living               SR0000775670    UMG RECORDINGS, INC.
       921 Justin Bieber                          Love Me Like You Do                SR0000702902    UMG RECORDINGS, INC.
       922 Justin Bieber                          Love Yourself                      SR0000775671    UMG RECORDINGS, INC.
       923 Justin Bieber                          Mark My Words                      SR0000775670    UMG RECORDINGS, INC.
       924 Justin Bieber                          Memphis                            SR0000736955    UMG RECORDINGS, INC.
       925 Justin Bieber                          No Pressure                        SR0000775670    UMG RECORDINGS, INC.
       926 Justin Bieber                          No Sense                           SR0000775670    UMG RECORDINGS, INC.
       927 Justin Bieber                          One Life                           SR0000736955    UMG RECORDINGS, INC.
       928 Justin Bieber                          One Time                           SR0000634194    UMG RECORDINGS, INC.
       929 Justin Bieber                          Pray                               SR0000669536    UMG RECORDINGS, INC.
       930 Justin Bieber                          Purpose                            SR0000775670    UMG RECORDINGS, INC.
       931 Justin Bieber                          PYD                                SR0000733727    UMG RECORDINGS, INC.
       932 Justin Bieber                          Recovery                           SR0000732645    UMG RECORDINGS, INC.
       933 Justin Bieber                          Roller Coaster                     SR0000736131    UMG RECORDINGS, INC.
       934 Justin Bieber                          Someday At Christmas               SR0000704701    UMG RECORDINGS, INC.
       935 Justin Bieber                          Sorry                              SR0000775673    UMG RECORDINGS, INC.
       936 Justin Bieber                          Swap It Out                        SR0000736955    UMG RECORDINGS, INC.
       937 Justin Bieber                          The Feeling                        SR0000775670    UMG RECORDINGS, INC.
       938 Justin Bieber                          The Most                           SR0000775670    UMG RECORDINGS, INC.
       939 Justin Bieber                          Trust                              SR0000775670    UMG RECORDINGS, INC.
       940 Justin Bieber                          Up                                 SR0000669536    UMG RECORDINGS, INC.
       941 Justin Bieber                          We Are                             SR0000775670    UMG RECORDINGS, INC.
       942 Justin Bieber                          What Do You Mean?                  SR0000773004    UMG RECORDINGS, INC.
       943 Justin Bieber                          What Do You Mean? (Remix)          SR0000777911    UMG RECORDINGS, INC.
       944 Justin Bieber                          What's Hatnin'                     SR0000736955    UMG RECORDINGS, INC.
       945 Justin Bieber ft. Usher                Somebody To Love Remix             SR0000671626    UMG RECORDINGS, INC.
       946 Kanye West                             30 Hours                           SR0000779225    UMG RECORDINGS, INC.
       947 Kanye West                             Addiction                          SR0000372867    UMG RECORDINGS, INC.
       948 Kanye West                             All Day                            SR0000800808    UMG RECORDINGS, INC.
       949 Kanye West                             Amazing                            SR0000620203    UMG RECORDINGS, INC.
       950 Kanye West                             Black Skinhead                     SR0000724178    UMG RECORDINGS, INC.
       951 Kanye West                             Blood On The Leaves                SR0000724178    UMG RECORDINGS, INC.
       952 Kanye West                             Bring Me Down                      SR0000372867    UMG RECORDINGS, INC.
       953 Kanye West                             Can't Tell Me Nothing (Explicit)   SR0000615020    UMG RECORDINGS, INC.
       954 Kanye West                             Celebration                        SR0000372867    UMG RECORDINGS, INC.
       955 Kanye West                             Crack Music                        SR0000372867    UMG RECORDINGS, INC.
       956 Kanye West                             Drive Slow                         SR0000372867    UMG RECORDINGS, INC.
       957 Kanye West                             Facts (Charlie Heat Version)       SR0000779225    UMG RECORDINGS, INC.
       958 Kanye West                             Fade                               SR0000779225    UMG RECORDINGS, INC.
       959 Kanye West                             Family Business                    SR0000347391    UMG RECORDINGS, INC.
       960 Kanye West                             Famous                             SR0000779225    UMG RECORDINGS, INC.
       961 Kanye West                             Father Stretch My Hands Pt. 1      SR0000779225    UMG RECORDINGS, INC.
       962 Kanye West                             Feedback                           SR0000779225    UMG RECORDINGS, INC.
       963 Kanye West                             Flashing Lights                    SR0000615020    UMG RECORDINGS, INC.
       964 Kanye West                             FML                                SR0000779225    UMG RECORDINGS, INC.
       965 Kanye West                             Frank's Track                      SR0000779225    UMG RECORDINGS, INC.
       966 Kanye West                             Freestyle 4                        SR0000779225    UMG RECORDINGS, INC.
       967 Kanye West                             Gold Digger                        SR0000377885    UMG RECORDINGS, INC.
                                                                                     SR0000372867;
       968 Kanye West                             Gone                               SRu000587811    UMG RECORDINGS, INC.
       969 Kanye West                             Good Life                          SR0000615020    UMG RECORDINGS, INC.
       970 Kanye West                             Guilt Trip                         SR0000724178    UMG RECORDINGS, INC.




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           Artist                                 Track                          Reg. No.        Plaintiff
                                                                                 SR0000380526;
       971 Kanye West                             Heard 'Em Say                  SR0000372867    UMG RECORDINGS, INC.
       972 Kanye West                             Heartless                      SR0000620204    UMG RECORDINGS, INC.
       973 Kanye West                             Hey Mama                       SR0000372867    UMG RECORDINGS, INC.
       974 Kanye West                             Highlights                     SR0000779225    UMG RECORDINGS, INC.
       975 Kanye West                             Hold My Liquor                 SR0000724178    UMG RECORDINGS, INC.
       976 Kanye West                             Homecoming                     SR0000615020    UMG RECORDINGS, INC.
       977 Kanye West                             I Am A God                     SR0000724178    UMG RECORDINGS, INC.
       978 Kanye West                             I Love Kanye                   SR0000779225    UMG RECORDINGS, INC.
       979 Kanye West                             I'm In It                      SR0000724178    UMG RECORDINGS, INC.
       980 Kanye West                             Jesus Walks                    SR0000347391    UMG RECORDINGS, INC.
       981 Kanye West                             Late                           SR0000372867    UMG RECORDINGS, INC.
       982 Kanye West                             Love Lockdown                  SR0000618708    UMG RECORDINGS, INC.
       983 Kanye West                             Low Lights                     SR0000779225    UMG RECORDINGS, INC.
       984 Kanye West                             My Way Home                    SR0000372867    UMG RECORDINGS, INC.
       985 Kanye West                             New Slaves                     SR0000724178    UMG RECORDINGS, INC.
       986 Kanye West                             No More Parties In LA          SR0000779225    UMG RECORDINGS, INC.
       987 Kanye West                             On Sight                       SR0000724178    UMG RECORDINGS, INC.
       988 Kanye West                             Pinocchio Story                SR0000620203    UMG RECORDINGS, INC.
       989 Kanye West                             Pt. 2                          SR0000779225    UMG RECORDINGS, INC.
       990 Kanye West                             Real Friends                   SR0000779225    UMG RECORDINGS, INC.
       991 Kanye West                             Roses                          SR0000372867    UMG RECORDINGS, INC.
       992 Kanye West                             Saint Pablo                    SR0000779240    UMG RECORDINGS, INC.
       993 Kanye West                             School Spirit Skit 2           SR0000347391    UMG RECORDINGS, INC.
       994 Kanye West                             Send It Up                     SR0000724178    UMG RECORDINGS, INC.
                                                  Siiiiiiiiilver Surffffeeeeer
       995 Kanye West                             Intermission                   SR0000779225    UMG RECORDINGS, INC.
                                                  Skit #1 (Kanye West/Late
       996 Kanye West                             Registration)                  SR0000372867    UMG RECORDINGS, INC.
                                                  Skit #2 (Kanye West/Late
       997 Kanye West                             Registration)                  SR0000372867    UMG RECORDINGS, INC.
                                                  Skit #4 (Kanye West/Late
      998 Kanye West                              Registration)                  SR0000372867    UMG RECORDINGS, INC.
      999 Kanye West                              The New Workout Plan           SR0000347391    UMG RECORDINGS, INC.
     1000 Kanye West                              Through The Wire               SR0000343120    UMG RECORDINGS, INC.
                                                                                 SR0000380526;
     1001 Kanye West                              Touch The Sky                  SR0000372867    UMG RECORDINGS, INC.
     1002 Kanye West                              Ultralight Beam                SR0000779225    UMG RECORDINGS, INC.
     1003 Kanye West                              Wake Up Mr. West               SR0000372867    UMG RECORDINGS, INC.
     1004 Kanye West                              Waves                          SR0000779225    UMG RECORDINGS, INC.
     1005 Kanye West                              We Major                       SR0000372867    UMG RECORDINGS, INC.
     1006 Kanye West                              Wolves                         SR0000779225    UMG RECORDINGS, INC.
     1007 Kanye West ft. Syleena Johnson          All Falls Down                 SR0000347391    UMG RECORDINGS, INC.
     1008 Kendrick Lamar                          Alright                        SR0000767371    UMG RECORDINGS, INC.
     1009 Kendrick Lamar                          Complexion (A Zulu Love)       SR0000767371    UMG RECORDINGS, INC.
     1010 Kendrick Lamar                          For Free (Interlude)           SR0000767371    UMG RECORDINGS, INC.
     1011 Kendrick Lamar                          For Sale?                      SR0000767371    UMG RECORDINGS, INC.
     1012 Kendrick Lamar                          Hood Politics                  SR0000767371    UMG RECORDINGS, INC.
     1013 Kendrick Lamar                          How Much A Dollar Cost         SR0000767371    UMG RECORDINGS, INC.
     1014 Kendrick Lamar                          i                              SR0000767371    UMG RECORDINGS, INC.
     1015 Kendrick Lamar                          Institutionalized              SR0000767371    UMG RECORDINGS, INC.
     1016 Kendrick Lamar                          King Kunta                     SR0000767371    UMG RECORDINGS, INC.
     1017 Kendrick Lamar                          Momma                          SR0000767371    UMG RECORDINGS, INC.
     1018 Kendrick Lamar                          Mortal Man                     SR0000767371    UMG RECORDINGS, INC.
     1019 Kendrick Lamar                          The Blacker The Berry          SR0000759769    UMG RECORDINGS, INC.
     1020 Kendrick Lamar                          These Walls                    SR0000767371    UMG RECORDINGS, INC.
     1021 Kendrick Lamar                          u                              SR0000767371    UMG RECORDINGS, INC.
     1022 Kendrick Lamar                          Wesley's Theory                SR0000767371    UMG RECORDINGS, INC.



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           Artist                                 Track                            Reg. No.       Plaintiff
                                                  You Ain't Gotta Lie (Momma
     1023 Kendrick Lamar                          Said)                            SR0000767371   UMG RECORDINGS, INC.
     1024 Keri Hilson                             All The Boys                     SR0000668317   UMG RECORDINGS, INC.
                                                  Bahm Bahm (Do It Once Again) /
     1025 Keri Hilson                             I Want You                       SR0000668317   UMG RECORDINGS, INC.
     1026 Keri Hilson                             Beautiful Mistake                SR0000668317   UMG RECORDINGS, INC.
     1027 Keri Hilson                             Breaking Point                   SR0000664729   UMG RECORDINGS, INC.
     1028 Keri Hilson                             Buyou                            SR0000668317   UMG RECORDINGS, INC.
     1029 Keri Hilson                             Fearless                         SR0000668603   UMG RECORDINGS, INC.
     1030 Keri Hilson                             Gimme What I Want                SR0000668317   UMG RECORDINGS, INC.
     1031 Keri Hilson                             Hustler                          SR0000668317   UMG RECORDINGS, INC.
     1032 Keri Hilson                             Lose Control                     SR0000668317   UMG RECORDINGS, INC.
     1033 Keri Hilson                             One Night Stand                  SR0000668317   UMG RECORDINGS, INC.
     1034 Keri Hilson                             Pretty Girl Rock                 SR0000668316   UMG RECORDINGS, INC.
     1035 Keri Hilson                             The Way You Love Me              SR0000668317   UMG RECORDINGS, INC.
     1036 Keri Hilson                             Toy Soldier                      SR0000668317   UMG RECORDINGS, INC.
     1037 Keri Hilson ft. Timbaland               Lie To Me                        SR0000668317   UMG RECORDINGS, INC.
     1038 Keri Hilson ft. Timbaland               Won't Be Long                    SR0000668317   UMG RECORDINGS, INC.
     1039 Kid Cudi                                All In                           SR0000804818   UMG RECORDINGS, INC.
     1040 Kid Cudi                                Baptized In Fire                 SR0000804821   UMG RECORDINGS, INC.
     1041 Kid Cudi                                By Design                        SR0000804818   UMG RECORDINGS, INC.
     1042 Kid Cudi                                Cosmic Warrior                   SR0000804818   UMG RECORDINGS, INC.
     1043 Kid Cudi                                Dance 4 Eternity                 SR0000804818   UMG RECORDINGS, INC.
     1044 Kid Cudi                                Distant Fantasies                SR0000804818   UMG RECORDINGS, INC.
     1045 Kid Cudi                                Does It                          SR0000804818   UMG RECORDINGS, INC.
     1046 Kid Cudi                                Flight At First Sight/Advanced   SR0000804818   UMG RECORDINGS, INC.
     1047 Kid Cudi                                Frequency                        SR0000793767   UMG RECORDINGS, INC.
     1048 Kid Cudi                                ILLusions                        SR0000804818   UMG RECORDINGS, INC.
     1049 Kid Cudi                                Kitchen                          SR0000804818   UMG RECORDINGS, INC.
     1050 Kid Cudi                                Mature Nature                    SR0000804818   UMG RECORDINGS, INC.
     1051 Kid Cudi                                Releaser                         SR0000804818   UMG RECORDINGS, INC.
     1052 Kid Cudi                                Rose Golden                      SR0000804818   UMG RECORDINGS, INC.
     1053 Kid Cudi                                Surfin'                          SR0000793766   UMG RECORDINGS, INC.
     1054 Kid Cudi                                Swim In The Light                SR0000804818   UMG RECORDINGS, INC.
     1055 Kid Cudi                                The Commander                    SR0000804818   UMG RECORDINGS, INC.
     1056 Kid Cudi                                The Guide                        SR0000804818   UMG RECORDINGS, INC.
     1057 Kid Cudi                                Wounds                           SR0000804818   UMG RECORDINGS, INC.
     1058 Lady Gaga                               A-YO                             SR0000784357   UMG RECORDINGS, INC.
     1059 Lady Gaga                               Angel Down                       SR0000784354   UMG RECORDINGS, INC.
     1060 Lady Gaga                               Applause                         SR0000729225   UMG RECORDINGS, INC.
     1061 Lady Gaga                               ARTPOP                           SR0000737557   UMG RECORDINGS, INC.
     1062 Lady Gaga                               Aura                             SR0000737557   UMG RECORDINGS, INC.
     1063 Lady Gaga                               Come To Mama                     SR0000784354   UMG RECORDINGS, INC.
     1064 Lady Gaga                               Dancin' In Circles               SR0000784354   UMG RECORDINGS, INC.
     1065 Lady Gaga                               Diamond Heart                    SR0000784354   UMG RECORDINGS, INC.
     1066 Lady Gaga                               Donatella                        SR0000737557   UMG RECORDINGS, INC.
     1067 Lady Gaga                               Dope                             SR0000737557   UMG RECORDINGS, INC.
     1068 Lady Gaga                               G.U.Y.                           SR0000737557   UMG RECORDINGS, INC.
                                                  Government Hooker Remix -
     1069 Lady Gaga                               Muglar Mix                       SR0000671815   UMG RECORDINGS, INC.
     1070 Lady Gaga                               Grigio Girls                     SR0000784354   UMG RECORDINGS, INC.
     1071 Lady Gaga                               Gypsy                            SR0000737557   UMG RECORDINGS, INC.
     1072 Lady Gaga                               Hey Girl                         SR0000784354   UMG RECORDINGS, INC.
     1073 Lady Gaga                               Joanne                           SR0000784354   UMG RECORDINGS, INC.
     1074 Lady Gaga                               John Wayne                       SR0000784354   UMG RECORDINGS, INC.
     1075 Lady Gaga                               Just Another Day                 SR0000784354   UMG RECORDINGS, INC.
     1076 Lady Gaga                               MANiCURE                         SR0000737557   UMG RECORDINGS, INC.
     1077 Lady Gaga                               Mary Jane Holland                SR0000737557   UMG RECORDINGS, INC.



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          Artist                                  Track                           Reg. No.       Plaintiff
     1078 Lady Gaga                               Million Reasons                 SR0000784356   UMG RECORDINGS, INC.
     1079 Lady Gaga                               Perfect Illusion                SR0000784355   UMG RECORDINGS, INC.
     1080 Lady Gaga                               Retro, Dance, Freak             SR0000642917   UMG RECORDINGS, INC.
     1081 Lady Gaga                               Sexxx Dreams                    SR0000737557   UMG RECORDINGS, INC.
     1082 Lady Gaga                               Sheisse                         SR0000671815   UMG RECORDINGS, INC.
     1083 Lady Gaga                               Shiza                           SR0000671815   UMG RECORDINGS, INC.
     1084 Lady Gaga                               Sinner's Prayer                 SR0000784354   UMG RECORDINGS, INC.
     1085 Lady Gaga                               Swine                           SR0000737557   UMG RECORDINGS, INC.
     1086 Lady Gaga                               Venus                           SR0000737559   UMG RECORDINGS, INC.
     1087 Lady Gaga ft. Christina Aguilera        Do What U Want                  SR0000736954   UMG RECORDINGS, INC.
     1088 Lady Gaga ft. T.I., Too $hort, Twista   Jewels N' Drugs                 SR0000737557   UMG RECORDINGS, INC.
     1089 Lana Del Rey                            Black Beauty                    SR0000750726   UMG RECORDINGS, INC.
     1090 Lana Del Rey                            Brooklyn Baby                   SR0000750724   UMG RECORDINGS, INC.
     1091 Lana Del Rey                            Cruel World                     SR0000750726   UMG RECORDINGS, INC.
     1092 Lana Del Rey                            Flipside                        SR0000750726   UMG RECORDINGS, INC.
     1093 Lana Del Rey                            Florida Kilos                   SR0000750726   UMG RECORDINGS, INC.
     1094 Lana Del Rey                            Fucked My Way Up To The Top     SR0000750726   UMG RECORDINGS, INC.
     1095 Lana Del Rey                            Guns And Roses                  SR0000750726   UMG RECORDINGS, INC.
     1096 Lana Del Rey                            Money Power Glory               SR0000750726   UMG RECORDINGS, INC.
     1097 Lana Del Rey                            Old Money                       SR0000750726   UMG RECORDINGS, INC.
     1098 Lana Del Rey                            Pretty When You Cry             SR0000750726   UMG RECORDINGS, INC.
     1099 Lana Del Rey                            Sad Girl                        SR0000750726   UMG RECORDINGS, INC.
     1100 Lana Del Rey                            Shades Of Cool                  SR0000750721   UMG RECORDINGS, INC.
     1101 Lana Del Rey                            The Other Woman                 SR0000750726   UMG RECORDINGS, INC.
     1102 Lana Del Rey                            Ultraviolence                   SR0000750722   UMG RECORDINGS, INC.
     1103 Lana Del Rey                            West Coast                      SR0000750720   UMG RECORDINGS, INC.
     1104 Lana Del Rey                            Young And Beautiful             SR0000721899   UMG RECORDINGS, INC.
     1105 Ledisi                                  One Step Ahead                  SR0000679321   UMG RECORDINGS, INC.
     1106 Lifehouse                               All In                          SR0000642695   UMG RECORDINGS, INC.
     1107 Lifehouse                               By Your Side                    SR0000642695   UMG RECORDINGS, INC.
     1108 Lifehouse                               Falling In                      SR0000642695   UMG RECORDINGS, INC.
     1109 Lifehouse                               Had Enough                      SR0000642695   UMG RECORDINGS, INC.
     1110 Lifehouse                               Here Tomorrow Gone Today        SR0000642695   UMG RECORDINGS, INC.
     1111 Lifehouse                               In Your Skin                    SR0000642695   UMG RECORDINGS, INC.
     1112 Lifehouse                               Nerve Damage                    SR0000642695   UMG RECORDINGS, INC.
     1113 Lifehouse                               Wrecking Ball                   SR0000642695   UMG RECORDINGS, INC.
     1114 Lionel Richie                           Can't Slow Down                 SR0000049235   UMG RECORDINGS, INC.
     1115 Lionel Richie                           Love Will Find A Way            SR0000049235   UMG RECORDINGS, INC.
     1116 Lionel Richie                           Running With The Night          SR0000049235   UMG RECORDINGS, INC.
     1117 Lionel Richie                           Serves You Right                SR0000039104   UMG RECORDINGS, INC.
     1118 Lionel Richie                           Stuck On You                    SR0000049235   UMG RECORDINGS, INC.
     1119 LMFAO                                   Party Rock Anthem               SR0000671268   UMG RECORDINGS, INC.
     1120 Lucinda Williams                        2 Kool 2 Be 4-Gotten            SR0000255075   UMG RECORDINGS, INC.
     1121 Lucinda Williams                        Can't Let Go                    SR0000255075   UMG RECORDINGS, INC.
     1122 Lucinda Williams                        Car Wheels On A Gravel Road     SR0000255075   UMG RECORDINGS, INC.
     1123 Lucinda Williams                        Concrete And Barbed Wire        SR0000255075   UMG RECORDINGS, INC.
     1124 Lucinda Williams                        Drunken Angel                   SR0000255075   UMG RECORDINGS, INC.
     1125 Lucinda Williams                        Greenville                      SR0000255075   UMG RECORDINGS, INC.
     1126 Lucinda Williams                        I Lost It                       SR0000255075   UMG RECORDINGS, INC.
     1127 Lucinda Williams                        Jackson                         SR0000255075   UMG RECORDINGS, INC.
     1128 Lucinda Williams                        Joy                             SR0000255075   UMG RECORDINGS, INC.
     1129 Lucinda Williams                        Lake Charles                    SR0000255075   UMG RECORDINGS, INC.
     1130 Lucinda Williams                        Metal Firecracker               SR0000255075   UMG RECORDINGS, INC.
     1131 Lucinda Williams                        Right In Time                   SR0000255075   UMG RECORDINGS, INC.
     1132 Lucinda Williams                        Still I Long For Your Kiss      SR0000255075   UMG RECORDINGS, INC.
     1133 Lyle Lovett                             Bayou Song                      SR0000636285   UMG RECORDINGS, INC.
     1134 Lyle Lovett                             Bohemia                         SR0000636285   UMG RECORDINGS, INC.
     1135 Lyle Lovett                             Don't You Think I Feel It Too   SR0000636285   UMG RECORDINGS, INC.



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          Artist                                  Track                             Reg. No.       Plaintiff
     1136 Lyle Lovett                             Empty Blue Shoes                  SR0000636285   UMG RECORDINGS, INC.
     1137 Lyle Lovett                             Farmer Brown/Chicken Reel         SR0000636285   UMG RECORDINGS, INC.
     1138 Lyle Lovett                             It's Rock And Roll                SR0000636285   UMG RECORDINGS, INC.
     1139 Lyle Lovett                             Loretta                           SR0000636285   UMG RECORDINGS, INC.
     1140 Lyle Lovett                             Natural Forces                    SR0000636285   UMG RECORDINGS, INC.
     1141 Lyle Lovett                             Pantry                            SR0000636285   UMG RECORDINGS, INC.
     1142 Lyle Lovett                             Sun And Moon And Stars            SR0000636285   UMG RECORDINGS, INC.
     1143 Lyle Lovett                             Whooping Crane                    SR0000636285   UMG RECORDINGS, INC.
     1144 M.I.A.                                  A.M.P (All My People)             SR0000793101   UMG RECORDINGS, INC.
     1145 M.I.A.                                  Ali r u ok?                       SR0000793101   UMG RECORDINGS, INC.
     1146 M.I.A.                                  Bird Song                         SR0000808646   UMG RECORDINGS, INC.
     1147 M.I.A.                                  Borders                           SR0000778798   UMG RECORDINGS, INC.
     1148 M.I.A.                                  Finally                           SR0000793101   UMG RECORDINGS, INC.
     1149 M.I.A.                                  Fly Pirate                        SR0000793101   UMG RECORDINGS, INC.
     1150 M.I.A.                                  Foreign Friend                    SR0000793101   UMG RECORDINGS, INC.
     1151 M.I.A.                                  Freedun                           SR0000808649   UMG RECORDINGS, INC.
     1152 M.I.A.                                  Go Off                            SR0000808651   UMG RECORDINGS, INC.
     1153 M.I.A.                                  Jump In                           SR0000793101   UMG RECORDINGS, INC.
     1154 M.I.A.                                  Platforms                         SR0000793101   UMG RECORDINGS, INC.
     1155 M.I.A.                                  Survivor                          SR0000793101   UMG RECORDINGS, INC.
     1156 M.I.A.                                  Swords                            SR0000771587   UMG RECORDINGS, INC.
     1157 M.I.A.                                  Talk                              SR0000793101   UMG RECORDINGS, INC.
                                                  The New International Sound Pt.
     1158 M.I.A.                                  2                                 SR0000793101   UMG RECORDINGS, INC.
     1159 M.I.A.                                  Visa                              SR0000793101   UMG RECORDINGS, INC.
     1160 Mariah Carey                            Angel (the prelude)               SR0000633779   UMG RECORDINGS, INC.
     1161 Mariah Carey                            Angels Cry                        SR0000633779   UMG RECORDINGS, INC.

     1162 Mariah Carey                            Betcha Gon' Know (the prologue)   SR0000633779   UMG RECORDINGS, INC.
     1163 Mariah Carey                            Camouflage                        SR0000750759   UMG RECORDINGS, INC.
     1164 Mariah Carey                            Candy Bling                       SR0000633779   UMG RECORDINGS, INC.
     1165 Mariah Carey                            Cry.                              SR0000750759   UMG RECORDINGS, INC.
     1166 Mariah Carey                            Dedicated                         SR0000750759   UMG RECORDINGS, INC.
     1167 Mariah Carey                            Faded                             SR0000750759   UMG RECORDINGS, INC.
     1168 Mariah Carey                            H.A.T.E.U.                        SR0000633779   UMG RECORDINGS, INC.
                                                  Heavenly (No Ways Tired/Can't
     1169 Mariah Carey                            Give Up Now)                      SR0000750759   UMG RECORDINGS, INC.
     1170 Mariah Carey                            I Want To Know What Love Is       SR0000633432   UMG RECORDINGS, INC.
     1171 Mariah Carey                            Inseparable                       SR0000633779   UMG RECORDINGS, INC.
     1172 Mariah Carey                            It's A Wrap                       SR0000633779   UMG RECORDINGS, INC.
     1173 Mariah Carey                            Languishing (The Interlude)       SR0000633779   UMG RECORDINGS, INC.
     1174 Mariah Carey                            Make It Look Good                 SR0000750759   UMG RECORDINGS, INC.
                                                  Me. I Am Mariah...The Elusive
     1175 Mariah Carey                            Chanteuse                     SR0000745183       UMG RECORDINGS, INC.
     1176 Mariah Carey                            Meteorite                     SR0000750759       UMG RECORDINGS, INC.
     1177 Mariah Carey                            Money ($ * / ...)             SR0000750759       UMG RECORDINGS, INC.
     1178 Mariah Carey                            More Than Just Friends        SR0000633779       UMG RECORDINGS, INC.
     1179 Mariah Carey                            Obsessed                      SR0000641972       UMG RECORDINGS, INC.
                                                                                SR0000641972;
                                                                                SR0000641968;
     1180 Mariah Carey                            Obsessed [Jump Smokers Remix] SR0000412565       UMG RECORDINGS, INC.
     1181 Mariah Carey                            One More Try                  SR0000750759       UMG RECORDINGS, INC.
     1182 Mariah Carey                            Ribbon                        SR0000633779       UMG RECORDINGS, INC.
                                                                                SR0000370795;
     1183 Mariah Carey                            Shake It Off                  SR0000412532       UMG RECORDINGS, INC.
     1184 Mariah Carey                            Standing O                    SR0000633779       UMG RECORDINGS, INC.
     1185 Mariah Carey                            Supernatural                  SR0000750759       UMG RECORDINGS, INC.
     1186 Mariah Carey                            The Art Of Letting Go         SR0000736946       UMG RECORDINGS, INC.



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          Artist                                  Track                            Reg. No.       Plaintiff
     1187 Mariah Carey                            The Impossible                   SR0000633779   UMG RECORDINGS, INC.
     1188 Mariah Carey                            The Impossible (the reprise)     SR0000633779   UMG RECORDINGS, INC.
     1189 Mariah Carey                            Thirsty                          SR0000750759   UMG RECORDINGS, INC.
     1190 Mariah Carey                            Up Out My Face (The Reprise)     SR0000633779   UMG RECORDINGS, INC.
     1191 Mariah Carey                            You Don't Know What To Do        SR0000750759   UMG RECORDINGS, INC.
     1192 Mariah Carey                            You're Mine (Eternal)            SR0000739043   UMG RECORDINGS, INC.
     1193 Maroon 5                                Don't Know Nothing               SR0000664531   UMG RECORDINGS, INC.
     1194 Maroon 5                                If I Never See Your Face Again   SR0000613104   UMG RECORDINGS, INC.
     1195 Maroon 5                                The Air That I Breathe           SR0000664531   UMG RECORDINGS, INC.
     1196 Maroon 5                                Wake Up Call                     SR0000613104   UMG RECORDINGS, INC.

     1197 Mary J. Blige                           Changes I've Been Going Through SR0000149212    UMG RECORDINGS, INC.
     1198 Mary J. Blige                           I Don't Want To Do Anything     SR0000149212    UMG RECORDINGS, INC.
     1199 Mary J. Blige                           Intro Talk                      SR0000149212    UMG RECORDINGS, INC.
     1200 Mary J. Blige                           Leave A Message                 SR0000149212    UMG RECORDINGS, INC.
     1201 Mary J. Blige                           Love No Limit                   SR0000149212    UMG RECORDINGS, INC.
     1202 Mary J. Blige                           My Love                         SR0000149212    UMG RECORDINGS, INC.
     1203 Mary J. Blige                           Reminisce                       SR0000149212    UMG RECORDINGS, INC.
     1204 Mary J. Blige                           Slow Down                       SR0000149212    UMG RECORDINGS, INC.
     1205 Mary J. Blige                           Sweet Thing                     SR0000149212    UMG RECORDINGS, INC.
     1206 Mary J. Blige                           What's The 411?                 SR0000149212    UMG RECORDINGS, INC.
     1207 Mary J. Blige                           You Remind Me                   SR0000149212    UMG RECORDINGS, INC.
     1208 Method Man                              Bring The Pain (Explicit)       SR0000755374    UMG RECORDINGS, INC.
     1209 Nas                                     A Queens Story                  SR0000705208    UMG RECORDINGS, INC.
     1210 Nas                                     Accident Murderers              SR0000705208    UMG RECORDINGS, INC.
     1211 Nas                                     Back When                       SR0000705208    UMG RECORDINGS, INC.
     1212 Nas                                     Bye Baby                        SR0000705208    UMG RECORDINGS, INC.
     1213 Nas                                     Cherry Wine                     SR0000705208    UMG RECORDINGS, INC.
     1214 Nas                                     Daughters                       SR0000700485    UMG RECORDINGS, INC.
     1215 Nas                                     Loco-Motive                     SR0000705208    UMG RECORDINGS, INC.
     1216 Nas                                     Nasty                           SR0000682922    UMG RECORDINGS, INC.
     1217 Nas                                     No Introduction                 SR0000705208    UMG RECORDINGS, INC.
     1218 Nas                                     Reach Out                       SR0000705208    UMG RECORDINGS, INC.
     1219 Nas                                     Roses                           SR0000705208    UMG RECORDINGS, INC.
     1220 Nas                                     Stay                            SR0000705208    UMG RECORDINGS, INC.
     1221 Nas                                     Summer On Smash                 SR0000705208    UMG RECORDINGS, INC.
     1222 Nas                                     The Black Bond                  SR0000705208    UMG RECORDINGS, INC.
     1223 Nas                                     The Don                         SR0000698535    UMG RECORDINGS, INC.
     1224 Nas                                     Trust                           SR0000703874    UMG RECORDINGS, INC.
     1225 Nas                                     Where's The Love                SR0000705208    UMG RECORDINGS, INC.
     1226 Nas                                     World's An Addiction            SR0000705208    UMG RECORDINGS, INC.
     1227 Nas                                     You Wouldn't Understand         SR0000705208    UMG RECORDINGS, INC.
     1228 Ne-Yo                                   Back To What You Know           SR0000616454    UMG RECORDINGS, INC.
     1229 Ne-Yo                                   Beautiful Monster               SR0000659167    UMG RECORDINGS, INC.
     1230 Ne-Yo                                   Cause I Said So                 SR0000683419    UMG RECORDINGS, INC.
     1231 Ne-Yo                                   Champagne Life                  SR0000683419    UMG RECORDINGS, INC.
     1232 Ne-Yo                                   Closer                          SR0000612632    UMG RECORDINGS, INC.
     1233 Ne-Yo                                   Fade Into The Background        SR0000616454    UMG RECORDINGS, INC.
     1234 Ne-Yo                                   Genuine Only                    SR0000683419    UMG RECORDINGS, INC.
     1235 Ne-Yo                                   Know Your Name                  SR0000683419    UMG RECORDINGS, INC.
     1236 Ne-Yo                                   Lie To Me                       SR0000616454    UMG RECORDINGS, INC.
     1237 Ne-Yo                                   Mad                             SR0000616454    UMG RECORDINGS, INC.
     1238 Ne-Yo                                   Makin' A Movie                  SR0000683419    UMG RECORDINGS, INC.
     1239 Ne-Yo                                   Miss Independent                SR0000616457    UMG RECORDINGS, INC.
     1240 Ne-Yo                                   Nobody                          SR0000616454    UMG RECORDINGS, INC.
     1241 Ne-Yo                                   One In A Million                SR0000669548    UMG RECORDINGS, INC.
     1242 Ne-Yo                                   Part Of The List                SR0000616454    UMG RECORDINGS, INC.
     1243 Ne-Yo                                   Single                          SR0000616454    UMG RECORDINGS, INC.



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          Artist                                  Track                             Reg. No.         Plaintiff
     1244 Ne-Yo                                   So You Can Cry                    SR0000616454     UMG RECORDINGS, INC.
     1245 Ne-Yo                                   Stop This World                   SR0000616454     UMG RECORDINGS, INC.
     1246 Ne-Yo                                   Telekinesis                       SR0000683419     UMG RECORDINGS, INC.
     1247 Ne-Yo                                   What Have I Done?                 SR0000683419     UMG RECORDINGS, INC.
     1248 Ne-Yo                                   What's The Matter                 SR0000619779     UMG RECORDINGS, INC.
     1249 Ne-Yo                                   Why Does She Stay                 SR0000616454     UMG RECORDINGS, INC.
     1250 Ne-Yo ft. Fabolous                      Crazy Love                        SR0000683419     UMG RECORDINGS, INC.
     1251 Nirvana                                 Aneurysm                          SR0000134601     UMG RECORDINGS, INC.
     1252 Nirvana                                 Curmudgeon                        SR0000146536     UMG RECORDINGS, INC.
     1253 Nirvana                                 Even In His Youth                 SR0000134601     UMG RECORDINGS, INC.
     1254 Nirvana                                 Forgotten Tune                    SR0000753442     UMG RECORDINGS, INC.
                                                  Frances Farmer Will Have Her
     1255 Nirvana                                 Revenge On Seattle                SR0000172276     UMG RECORDINGS, INC.
                                                  Gallons Of Rubbing Alcohol Flow
     1256 Nirvana                                 Through The Strip                 SR0000382699     UMG RECORDINGS, INC.
     1257 Nirvana                                 Here She Comes Now                SR0000382699     UMG RECORDINGS, INC.
     1258 Nirvana                                 I Hate Myself And Want To Die     SR0000753442     UMG RECORDINGS, INC.
     1259 Nirvana                                 Immodium (Breed)                  SR0000135335     UMG RECORDINGS, INC.
     1260 Nirvana                                 Jam                               SR0000753442     UMG RECORDINGS, INC.
                                                  Jesus Doesn't Want Me For A
     1261 Nirvana                                 Sunbeam                           SR0000178690     UMG RECORDINGS, INC.
     1262 Nirvana                                 Marigold                          SR0000382699     UMG RECORDINGS, INC.
     1263 Nirvana                                 Milk It                           SR0000172276     UMG RECORDINGS, INC.
     1264 Nirvana                                 Old Age                           SR0000382699     UMG RECORDINGS, INC.
     1265 Nirvana                                 Pay To Play                       SR0000135335     UMG RECORDINGS, INC.
     1266 Nirvana                                 Radio Friendly Unit Shifter       SR0000172276     UMG RECORDINGS, INC.
     1267 Nirvana                                 Sappy                             SR0000753442     UMG RECORDINGS, INC.
     1268 Nirvana                                 Scentless Apprentice              SR0000172276     UMG RECORDINGS, INC.
                                                                                    SR0000172276;
                                                                                    SR0000753442;
     1269 Nirvana                                 Scentless Apprentice (Live)       SR0000227411     UMG RECORDINGS, INC.
     1270 Nirvana                                 Serve The Servants                SR0000172276     UMG RECORDINGS, INC.
                                                  Smells Like Teen Spirit (Butch Vig
     1271 Nirvana                                 Mix)                               SR0000382699    UMG RECORDINGS, INC.
                                                  Smells Like Teen Spirit (Rehearsal
     1272 Nirvana                                 Demo)                              SR0000382699    UMG RECORDINGS, INC.
                                                  Something In The Way (Maida        SR0000685523;
     1273 Nirvana                                 Vale Studios, London 09.10.91)     SR0000135335    UMG RECORDINGS, INC.
     1274 Nirvana                                 Tourette's                         SR0000172276    UMG RECORDINGS, INC.
     1275 Nirvana                                 Very Ape                           SR0000172276    UMG RECORDINGS, INC.
     1276 Nirvana                                 Waif Me                            SR0000172276    UMG RECORDINGS, INC.
     1277 No Doubt                                Dreaming The Same Dream            SR0000708746    UMG RECORDINGS, INC.
     1278 No Doubt                                Easy                               SR0000708746    UMG RECORDINGS, INC.
     1279 No Doubt                                Gravity                            SR0000708746    UMG RECORDINGS, INC.
     1280 No Doubt                                Heaven                             SR0000708746    UMG RECORDINGS, INC.
     1281 No Doubt                                Looking Hot                        SR0000708746    UMG RECORDINGS, INC.
     1282 No Doubt                                One More Summer                    SR0000708746    UMG RECORDINGS, INC.
     1283 No Doubt                                Push And Shove                     SR0000708748    UMG RECORDINGS, INC.
     1284 No Doubt                                Sparkle                            SR0000708746    UMG RECORDINGS, INC.
     1285 No Doubt                                Stand And Deliver                  SR0000708746    UMG RECORDINGS, INC.
     1286 No Doubt                                Undercover                         SR0000708746    UMG RECORDINGS, INC.
     1287 No Doubt                                Undone                             SR0000708746    UMG RECORDINGS, INC.
     1288 Obie Trice                              Cry Now                            SR0000396266    UMG RECORDINGS, INC.
     1289 Obie Trice                              Pistol Pistol (remix)              SR0000401289    UMG RECORDINGS, INC.
     1290 Obie Trice                              We Ride For Shady                  SR0000401289    UMG RECORDINGS, INC.
     1291 Of Monsters and Men                     Dirty Paws                         SR0000698589    UMG RECORDINGS, INC.
     1292 Of Monsters and Men                     From Finner                        SR0000694984    UMG RECORDINGS, INC.
     1293 Of Monsters and Men                     King And Lionheart                 SR0000698589    UMG RECORDINGS, INC.



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          Artist                                  Track                     Reg. No.       Plaintiff
     1294 Of Monsters and Men                     Lakehouse                 SR0000698589   UMG RECORDINGS, INC.
     1295 Of Monsters and Men                     Love Love Love            SR0000694984   UMG RECORDINGS, INC.
     1296 Of Monsters And Men                     Mountain Sound            SR0000698589   UMG RECORDINGS, INC.
     1297 Of Monsters and Men                     Sinking Man               SR0000699081   UMG RECORDINGS, INC.
     1298 Of Monsters and Men                     Six Weeks                 SR0000694984   UMG RECORDINGS, INC.
     1299 Of Monsters and Men                     Sloom                     SR0000698589   UMG RECORDINGS, INC.
     1300 Of Monsters and Men                     Slow And Steady           SR0000698589   UMG RECORDINGS, INC.
     1301 Of Monsters and Men                     Yellow Light              SR0000698589   UMG RECORDINGS, INC.
     1302 OneRepublic                             A.I.                      SR0000797122   UMG RECORDINGS, INC.
     1303 OneRepublic                             All These Things          SR0000797121   UMG RECORDINGS, INC.
     1304 OneRepublic                             Better                    SR0000797121   UMG RECORDINGS, INC.
     1305 OneRepublic                             Born                      SR0000797121   UMG RECORDINGS, INC.
     1306 OneRepublic                             Choke                     SR0000797121   UMG RECORDINGS, INC.
     1307 OneRepublic                             Colors                    SR0000797121   UMG RECORDINGS, INC.
     1308 OneRepublic                             Dream                     SR0000797121   UMG RECORDINGS, INC.
     1309 OneRepublic                             Fingertips                SR0000797121   UMG RECORDINGS, INC.
     1310 OneRepublic                             Future Looks Good         SR0000797123   UMG RECORDINGS, INC.
     1311 OneRepublic                             Heaven                    SR0000797121   UMG RECORDINGS, INC.
     1312 OneRepublic                             Human                     SR0000797121   UMG RECORDINGS, INC.
     1313 OneRepublic                             Kids                      SR0000797124   UMG RECORDINGS, INC.
     1314 OneRepublic                             Let's Hurt Tonight        SR0000797121   UMG RECORDINGS, INC.
     1315 OneRepublic                             Lift Me Up                SR0000797121   UMG RECORDINGS, INC.
     1316 OneRepublic                             NbHD                      SR0000797121   UMG RECORDINGS, INC.
     1317 OneRepublic                             Oh My My                  SR0000797121   UMG RECORDINGS, INC.
     1318 OneRepublic                             The Less I Know           SR0000797121   UMG RECORDINGS, INC.
     1319 OneRepublic                             Wherever I Go             SR0000788301   UMG RECORDINGS, INC.
     1320 Owl City                                Butterfly Wings           SR0000645594   UMG RECORDINGS, INC.
     1321 Owl City                                Cave In                   SR0000628227   UMG RECORDINGS, INC.
     1322 Owl City                                Dental Care               SR0000628227   UMG RECORDINGS, INC.
     1323 Owl City                                Fireflies                 SR0000628227   UMG RECORDINGS, INC.
     1324 Owl City                                Hello Seattle             SR0000628227   UMG RECORDINGS, INC.
     1325 Owl City                                Hot Air Balloon           SR0000636152   UMG RECORDINGS, INC.
     1326 Owl City                                If My Heart Was a House   SR0000628227   UMG RECORDINGS, INC.
     1327 Owl City                                Meteor Shower             SR0000628227   UMG RECORDINGS, INC.
     1328 Owl City                                On The Wing               SR0000628227   UMG RECORDINGS, INC.
     1329 Owl City                                Rugs From Me To You       SR0000645594   UMG RECORDINGS, INC.
     1330 Owl City                                Strawberry Avalanche      SR0000636153   UMG RECORDINGS, INC.
     1331 Owl City                                The Bird And The Worm     SR0000628227   UMG RECORDINGS, INC.
     1332 Owl City                                The Saltwater Room        SR0000628227   UMG RECORDINGS, INC.
     1333 Owl City                                The Tip Of The Iceberg    SR0000628227   UMG RECORDINGS, INC.
     1334 Owl City                                Tidal Wave                SR0000628227   UMG RECORDINGS, INC.
     1335 Owl City                                Umbrella Beach            SR0000628227   UMG RECORDINGS, INC.
     1336 Owl City                                Vanilla Twilight          SR0000628227   UMG RECORDINGS, INC.
     1337 Parachute                               Can't Help                SR0000724672   UMG RECORDINGS, INC.
     1338 Parachute                               Didn't See It Coming      SR0000728449   UMG RECORDINGS, INC.
     1339 Parachute                               Disappear                 SR0000728449   UMG RECORDINGS, INC.
     1340 Parachute                               Drive You Home            SR0000728449   UMG RECORDINGS, INC.
     1341 Parachute                               Higher                    SR0000728449   UMG RECORDINGS, INC.
     1342 Parachute                               Hurricane                 SR0000728448   UMG RECORDINGS, INC.
     1343 Parachute                               Meant To Be               SR0000728449   UMG RECORDINGS, INC.
     1344 Parachute                               Overnight                 SR0000728449   UMG RECORDINGS, INC.
     1345 Parachute                               The Only One              SR0000728449   UMG RECORDINGS, INC.
     1346 Parachute                               The Other Side            SR0000728449   UMG RECORDINGS, INC.
     1347 Parachute                               Waiting For That Call     SR0000728449   UMG RECORDINGS, INC.
     1348 Phantogram                              Bad Dreams                SR0000741000   UMG RECORDINGS, INC.
     1349 Phantogram                              Bill Murray               SR0000741006   UMG RECORDINGS, INC.
     1350 Phantogram                              Black Out Days            SR0000733769   UMG RECORDINGS, INC.
     1351 Phantogram                              Celebrating Nothing       SR0000733769   UMG RECORDINGS, INC.



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          Artist                                  Track                           Reg. No.        Plaintiff
     1352 Phantogram                              Fall In Love                    SR0000741004    UMG RECORDINGS, INC.
     1353 Phantogram                              Howling At The Moon             SR0000741000    UMG RECORDINGS, INC.
     1354 Phantogram                              I Don't Blame You               SR0000741000    UMG RECORDINGS, INC.
     1355 Phantogram                              My Only Friend                  SR0000741000    UMG RECORDINGS, INC.
     1356 Phantogram                              Never Going Home                SR0000733769    UMG RECORDINGS, INC.
     1357 Phantogram                              Nothing But Trouble             SR0000741005    UMG RECORDINGS, INC.
     1358 Phantogram                              The Day You Died                SR0000733769    UMG RECORDINGS, INC.
     1359 Phillip Phillips                        Take Me Away                    SR0000712841    UMG RECORDINGS, INC.
     1360 Phillip Phillips                        Thriller                        SR0000712841    UMG RECORDINGS, INC.
     1361 Post Malone                             Big Lie                         SR0000800519    UMG RECORDINGS, INC.
     1362 Post Malone                             Broken Whiskey Glass            SR0000800519    UMG RECORDINGS, INC.
     1363 Post Malone                             Cold                            SR0000800519    UMG RECORDINGS, INC.
     1364 Post Malone                             Congratulations                 SR0000800520    UMG RECORDINGS, INC.
     1365 Post Malone                             Deja Vu                         SR0000792655    UMG RECORDINGS, INC.
     1366 Post Malone                             Feel                            SR0000800519    UMG RECORDINGS, INC.
     1367 Post Malone                             Feeling Whitney                 SR0000800519    UMG RECORDINGS, INC.
     1368 Post Malone                             Go Flex                         SR0000779224    UMG RECORDINGS, INC.
     1369 Post Malone                             Hit This Hard                   SR0000800519    UMG RECORDINGS, INC.
     1370 Post Malone                             I Fall Apart                    SR0000800519    UMG RECORDINGS, INC.
     1371 Post Malone                             Leave                           SR0000800523    UMG RECORDINGS, INC.
     1372 Post Malone                             Money Made Me Do It             SR0000800519    UMG RECORDINGS, INC.
     1373 Post Malone                             No Option                       SR0000800519    UMG RECORDINGS, INC.
     1374 Post Malone                             Patient                         SR0000800521    UMG RECORDINGS, INC.
     1375 Post Malone                             Too Young                       SR0000776301    UMG RECORDINGS, INC.
     1376 Post Malone                             Up There                        SR0000800519    UMG RECORDINGS, INC.
     1377 Post Malone                             White Iverson                   SR0000771552    UMG RECORDINGS, INC.
     1378 Post Malone                             Yours Truly, Austin Post        SR0000800519    UMG RECORDINGS, INC.
     1379 Rihanna                                 Breakin' Dishes                 SR0000411459    UMG RECORDINGS, INC.
     1380 Rihanna                                 Diamonds                        SR0000708917    UMG RECORDINGS, INC.
     1381 Rihanna                                 Get It Over With                SR0000712658    UMG RECORDINGS, INC.
     1382 Rihanna                                 Half Of Me                      SR0000712658    UMG RECORDINGS, INC.
     1383 Rihanna                                 Jump                            SR0000712658    UMG RECORDINGS, INC.
     1384 Rihanna                                 Lost In Paradise                SR0000712658    UMG RECORDINGS, INC.
                                                  Love Without Tragedy / Mother
     1385 Rihanna                                 Mary                            SR0000712658    UMG RECORDINGS, INC.
     1386 Rihanna                                 Loveeeeeee Song                 SR0000712658    UMG RECORDINGS, INC.
     1387 Rihanna                                 No Love Allowed                 SR0000712658    UMG RECORDINGS, INC.
     1388 Rihanna                                 Numb                            SR0000712658    UMG RECORDINGS, INC.
     1389 Rihanna                                 Phresh Out The Runway           SR0000712658    UMG RECORDINGS, INC.
     1390 Rihanna                                 Pour It Up                      SR0000712658    UMG RECORDINGS, INC.
     1391 Rihanna                                 Right Now                       SR0000712658    UMG RECORDINGS, INC.
     1392 Rihanna                                 Sell Me Candy                   SR0000411459    UMG RECORDINGS, INC.
     1393 Rihanna                                 Stay                            SR0000712658    UMG RECORDINGS, INC.
     1394 Rihanna                                 What Now                        SR0000712658    UMG RECORDINGS, INC.
     1395 Rihanna ft. Chris Brown                 Nobody's Business               SR0000712658    UMG RECORDINGS, INC.
                                                                                  SR0000728226;
     1396 Robin Thicke                            4 The Rest Of My Life           SR0000412690    UMG RECORDINGS, INC.
                                                                                  SR0000728226;
     1397 Robin Thicke                            Ain't No Hat 4 That             SR0000412690    UMG RECORDINGS, INC.
                                                                                  SR0000728226;
     1398 Robin Thicke                            Feel Good                       SR0000412690    UMG RECORDINGS, INC.
                                                                                  SR0000728226;
     1399 Robin Thicke                            Get In My Way                   SR0000412690    UMG RECORDINGS, INC.
                                                                                  SR0000728227;
     1400 Robin Thicke                            Give It 2 U                     SR0000412677    UMG RECORDINGS, INC.
                                                                                  SR0000728226;
     1401 Robin Thicke                            Go Stupid 4 U                   SR0000412690    UMG RECORDINGS, INC.




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                                                                                 SR0000728226;
     1402 Robin Thicke                            Ooo La La                      SR0000412690    UMG RECORDINGS, INC.
                                                                                 SR0000728226;
     1403 Robin Thicke                            Pressure                       SR0000412690    UMG RECORDINGS, INC.
                                                                                 SR0000728226;
     1404 Robin Thicke                            Put Your Lovin On Me           SR0000412690    UMG RECORDINGS, INC.
                                                                                 SR0000728226;
     1405 Robin Thicke                            Take It Easy On Me             SR0000412690    UMG RECORDINGS, INC.
                                                                                 SR0000728226;
     1406 Robin Thicke                            The Good Life                  SR0000412690    UMG RECORDINGS, INC.
                                                                                 SR0000728226;
     1407 Robin Thicke                            Top Of The World               SR0000412690    UMG RECORDINGS, INC.
     1408 Sarah McLachlan                         Angels We Have Heard On High   SR0000798028    UMG RECORDINGS, INC.
     1409 Sarah McLachlan                         Away In A Manger               SR0000798028    UMG RECORDINGS, INC.
     1410 Sarah McLachlan                         Beautiful Girl                 SR0000748654    UMG RECORDINGS, INC.
     1411 Sarah McLachlan                         Brink Of Destruction           SR0000748654    UMG RECORDINGS, INC.
     1412 Sarah McLachlan                         Broken Heart                   SR0000748654    UMG RECORDINGS, INC.
     1413 Sarah McLachlan                         Flesh And Blood                SR0000748654    UMG RECORDINGS, INC.
     1414 Sarah McLachlan                         Go Tell It On The Mountain     SR0000798028    UMG RECORDINGS, INC.
     1415 Sarah McLachlan                         Huron Carol                    SR0000798028    UMG RECORDINGS, INC.
     1416 Sarah McLachlan                         In Your Shoes                  SR0000748656    UMG RECORDINGS, INC.
     1417 Sarah McLachlan                         Let It Snow                    SR0000798030    UMG RECORDINGS, INC.
     1418 Sarah McLachlan                         Little B                       SR0000748654    UMG RECORDINGS, INC.
     1419 Sarah McLachlan                         Love Beside Me                 SR0000748654    UMG RECORDINGS, INC.
     1420 Sarah McLachlan                         Monsters                       SR0000748654    UMG RECORDINGS, INC.
     1421 Sarah McLachlan                         O Come All Ye Faithful         SR0000798028    UMG RECORDINGS, INC.
     1422 Sarah McLachlan                         O Holy Night                   SR0000798028    UMG RECORDINGS, INC.
     1423 Sarah McLachlan                         Silver Bells                   SR0000798028    UMG RECORDINGS, INC.
     1424 Sarah McLachlan                         Song For My Father             SR0000748654    UMG RECORDINGS, INC.
     1425 Sarah McLachlan                         Surrender And Certainty        SR0000748654    UMG RECORDINGS, INC.
     1426 Sarah McLachlan                         The Christmas Song             SR0000798028    UMG RECORDINGS, INC.
     1427 Sarah McLachlan                         The Sound That Love Makes      SR0000748654    UMG RECORDINGS, INC.
     1428 Sarah McLachlan                         Turn The Lights Down Low       SR0000748654    UMG RECORDINGS, INC.
     1429 Sarah McLachlan                         What's It Gonna Take           SR0000748654    UMG RECORDINGS, INC.
     1430 Sarah McLachlan                         White Christmas                SR0000798028    UMG RECORDINGS, INC.
     1431 Sarah McLachlan                         Winter Wonderland              SR0000798029    UMG RECORDINGS, INC.
     1432 ScHoolboy Q                             Big Body                       SR0000779288    UMG RECORDINGS, INC.
     1433 ScHoolboy Q                             Black THougHts                 SR0000779288    UMG RECORDINGS, INC.
     1434 ScHoolboy Q                             Blank Face                     SR0000779288    UMG RECORDINGS, INC.
     1435 ScHoolboy Q                             By Any Means                   SR0000779288    UMG RECORDINGS, INC.
     1436 ScHoolboy Q                             Dope Dealer                    SR0000779288    UMG RECORDINGS, INC.
     1437 ScHoolboy Q                             Groovy Tony                    SR0000779288    UMG RECORDINGS, INC.
     1438 ScHoolboy Q                             JoHn Muir                      SR0000779288    UMG RECORDINGS, INC.
     1439 ScHoolboy Q                             Kno Ya Wrong                   SR0000779288    UMG RECORDINGS, INC.
     1440 ScHoolboy Q                             Lord Have Mercy                SR0000779288    UMG RECORDINGS, INC.
     1441 ScHoolboy Q                             Neva CHange                    SR0000779288    UMG RECORDINGS, INC.
     1442 ScHoolboy Q                             Overtime                       SR0000779288    UMG RECORDINGS, INC.
     1443 ScHoolboy Q                             Ride Out                       SR0000779288    UMG RECORDINGS, INC.
     1444 ScHoolboy Q                             Str8 Ballin                    SR0000779288    UMG RECORDINGS, INC.
     1445 ScHoolboy Q                             THat Part                      SR0000779290    UMG RECORDINGS, INC.
     1446 ScHoolboy Q                             Tookie Knows II                SR0000779288    UMG RECORDINGS, INC.
     1447 ScHoolboy Q                             TorcH                          SR0000779288    UMG RECORDINGS, INC.
     1448 ScHoolboy Q                             WHateva U Want                 SR0000779288    UMG RECORDINGS, INC.
     1449 Scotty McCreery                         Back On The Ground             SR0000685512    UMG RECORDINGS, INC.
     1450 Scotty McCreery                         Better Than That               SR0000685512    UMG RECORDINGS, INC.
     1451 Scotty McCreery                         Clear As Day                   SR0000685512    UMG RECORDINGS, INC.
     1452 Scotty McCreery                         Dirty Dishes                   SR0000685512    UMG RECORDINGS, INC.
     1453 Scotty McCreery                         I Love You This Big            SR0000685512    UMG RECORDINGS, INC.



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          Artist                                  Track                               Reg. No.             Plaintiff
     1454 Scotty McCreery                         Out Of Summertime                   SR0000685512         UMG RECORDINGS, INC.
     1455 Scotty McCreery                         That Old King James                 SR0000685512         UMG RECORDINGS, INC.
     1456 Scotty McCreery                         The Trouble With Girls              SR0000685513         UMG RECORDINGS, INC.
     1457 Scotty McCreery                         Walk In The Country                 SR0000685512         UMG RECORDINGS, INC.
     1458 Scotty McCreery                         Water Tower Town                    SR0000685512         UMG RECORDINGS, INC.
     1459 Scotty McCreery                         Write My Number On Your Hand SR0000685512                UMG RECORDINGS, INC.
     1460 Scotty McCreery                         You Make That Look Good             SR0000685512         UMG RECORDINGS, INC.
     1461 Skylar Grey                             Back From The Dead (Explicit)       SR0000726642         UMG RECORDINGS, INC.
     1462 Skylar Grey                             C'mon Let Me Ride (Explicit)        SR0000715320         UMG RECORDINGS, INC.
     1463 Skylar Grey                             Clear Blue Sky                      SR0000726642         UMG RECORDINGS, INC.
     1464 Skylar Grey                             Final Warning                       SR0000722303         UMG RECORDINGS, INC.
     1465 Skylar Grey                             Glow In The Dark                    SR0000726642         UMG RECORDINGS, INC.
     1466 Skylar Grey                             Pulse                               SR0000726642         UMG RECORDINGS, INC.
     1467 Skylar Grey                             Religion                            SR0000726642         UMG RECORDINGS, INC.
     1468 Skylar Grey                             Shit, Man! (Explicit)               SR0000726642         UMG RECORDINGS, INC.
     1469 Skylar Grey                             Sunshine                            SR0000726642         UMG RECORDINGS, INC.
     1470 Skylar Grey                             Tower (Don't Look Down)             SR0000726642         UMG RECORDINGS, INC.
     1471 Skylar Grey                             Wear Me Out                         SR0000726643         UMG RECORDINGS, INC.
     1472 Skylar Grey                             White Suburban                      SR0000726644         UMG RECORDINGS, INC.
     1473 Snoop Dogg                              If I Was You (OMG)                  SR0000664587         UMG RECORDINGS, INC.
     1474 St. Vincent                             Birth in Reverse                    SR0000740341         UMG RECORDINGS, INC.
     1475 St. Vincent                             Bring Me Your Loves                 SR0000740346         UMG RECORDINGS, INC.
     1476 St. Vincent                             Digital Witness                     SR0000740338;        UMG RECORDINGS, INC.
     1477 St. Vincent                             Every Tear Disappears               SR0000740346         UMG RECORDINGS, INC.
     1478 St. Vincent                             Huey Newton                         SR0000740346         UMG RECORDINGS, INC.
     1479 St. Vincent                             I Prefer Your Love                  SR0000740346         UMG RECORDINGS, INC.
     1480 St. Vincent                             Prince Johnny                       SR0000740334         UMG RECORDINGS, INC.
     1481 St. Vincent                             Psychopath                          SR0000740346         UMG RECORDINGS, INC.
     1482 St. Vincent                             Rattlesnake                         SR0000740346         UMG RECORDINGS, INC.
     1483 St. Vincent                             Regret                              SR0000740346         UMG RECORDINGS, INC.
     1484 St. Vincent                             Severed Crossed Fingers             SR0000740346         UMG RECORDINGS, INC.
     1485 Steely Dan                              Aja                                 RE0000926454; N45817 UMG RECORDINGS, INC.
     1486 Steely Dan                              Black Cow                           RE0000926454; N45817 UMG RECORDINGS, INC.
     1487 Steely Dan                              Deacon Blues                        RE0000926454; N45817 UMG RECORDINGS, INC.
     1488 Steely Dan                              Josie                               RE0000926454; N45817 UMG RECORDINGS, INC.
     1489 Steely Dan                              Peg                                 RE0000926454; N45817 UMG RECORDINGS, INC.
                                                  I Believe (When I Fall In Love It
     1490 Stevie Wonder                           Will Be Forever)                    RE0000852322; N3886 UMG RECORDINGS, INC.
     1491 Stevie Wonder                           You And I                           N3886; RE0000852322 UMG RECORDINGS, INC.
     1492 Stevie Wonder                           You Are The Sunshine Of My Life RE0000852322; N3886 UMG RECORDINGS, INC.
     1493 Stevie Wonder                           You've Got It Bad Girl              RE0000852322; N3886 UMG RECORDINGS, INC.
     1494 Sting                                                                50,000 SR0000801477         UMG RECORDINGS, INC.
     1495 Sting                                   Down, Down, Down                    SR0000798011         UMG RECORDINGS, INC.
                                                  Heading South On The Great
     1496 Sting                                   North Road                          SR0000798011         UMG RECORDINGS, INC.
     1497 Sting                                   I Can't Stop Thinking About You     SR0000798012         UMG RECORDINGS, INC.
     1498 Sting                                   If You Can't Love Me                SR0000798011         UMG RECORDINGS, INC.
     1499 Sting                                   Inshallah                           SR0000798011         UMG RECORDINGS, INC.
     1500 Sting                                   Next To You                         SR0000798011         UMG RECORDINGS, INC.
     1501 Sting                                   One Fine Day                        SR0000801478         UMG RECORDINGS, INC.
     1502 Sting                                   Petrol Head                         SR0000798016         UMG RECORDINGS, INC.
     1503 Sting                                   Pretty Young Soldier                SR0000798011         UMG RECORDINGS, INC.
     1504 Sting                                   The Empty Chair                     SR0000798011         UMG RECORDINGS, INC.
     1505 SUPERTRAMP                              Breakfast In America                SR0000008211         UMG RECORDINGS, INC.
     1506 Supertramp                              Casual Conversations                SR0000008211         UMG RECORDINGS, INC.
     1507 Supertramp                              Child Of Vision                     SR0000008211         UMG RECORDINGS, INC.
     1508 Supertramp                              Gone Hollywood                      SR0000008211         UMG RECORDINGS, INC.
     1509 Supertramp                              Goodbye Stranger                    SR0000008211         UMG RECORDINGS, INC.



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          Artist                                  Track                           Reg. No.        Plaintiff
     1510 Supertramp                              Just Another Nervous Wreck      SR0000008211    UMG RECORDINGS, INC.
     1511 Supertramp                              Lord Is It Mine                 SR0000008211    UMG RECORDINGS, INC.
     1512 Supertramp                              Oh Darling                      SR0000008211    UMG RECORDINGS, INC.
     1513 Supertramp                              Take The Long Way Home          SR0000008211    UMG RECORDINGS, INC.
     1514 Supertramp                              The Logical Song                SR0000008211    UMG RECORDINGS, INC.
     1515 Taio Cruz                               Falling In Love                 SR0000656945    UMG RECORDINGS, INC.
     1516 Taio Cruz                               Feel Again                      SR0000656945    UMG RECORDINGS, INC.
     1517 Taio Cruz                               Forever Love                    SR0000658280    UMG RECORDINGS, INC.
     1518 Taio Cruz                               I Can Be                        SR0000656945    UMG RECORDINGS, INC.
     1519 Taio Cruz                               I'll Never Love Again           SR0000656945    UMG RECORDINGS, INC.
     1520 Taio Cruz ft. Ke$ha                     Dirty Picture                   SR0000656945    UMG RECORDINGS, INC.
     1521 Taio Cruz ft. Luciana Caporaso          Come On Girl                    SR0000656945    UMG RECORDINGS, INC.
     1522 The Band Perry                          Queen Maybelline                SR0000664737    UMG RECORDINGS, INC.
     1523 The Band Perry                          Quittin' You                    SR0000664551    UMG RECORDINGS, INC.
     1524 The Gaslight Anthem                                                  45 SR0000705038    UMG RECORDINGS, INC.
     1525 The Gaslight Anthem                     Blue Dahlia                     SR0000704924    UMG RECORDINGS, INC.
     1526 The Gaslight Anthem                     Desire                          SR0000704924    UMG RECORDINGS, INC.
     1527 The Gaslight Anthem                     Handwritten                     SR0000704924    UMG RECORDINGS, INC.
     1528 The Gaslight Anthem                     Here Comes My Man               SR0000704924    UMG RECORDINGS, INC.
     1529 The Gaslight Anthem                     Howl                            SR0000704924    UMG RECORDINGS, INC.
     1530 The Gaslight Anthem                     Keepsake                        SR0000704924    UMG RECORDINGS, INC.
     1531 The Gaslight Anthem                     Mulholland Drive                SR0000704924    UMG RECORDINGS, INC.
     1532 The Gaslight Anthem                     Sliver                          SR0000704924    UMG RECORDINGS, INC.
     1533 The Gaslight Anthem                     Too Much Blood                  SR0000704924    UMG RECORDINGS, INC.
     1534 The Gaslight Anthem                     You Got Lucky                   SR0000705039    UMG RECORDINGS, INC.
     1535 The Killers                             A Crippling Blow                SR0000619234    UMG RECORDINGS, INC.
     1536 The Killers                             A Dustland Fairytale            SR0000620038    UMG RECORDINGS, INC.
     1537 The Killers                             Goodnight, Travel Well          SR0000620038    UMG RECORDINGS, INC.
     1538 The Killers                             Human                           SR0000619236    UMG RECORDINGS, INC.
     1539 The Killers                             I Can't Stay                    SR0000620038    UMG RECORDINGS, INC.
     1540 The Killers                             Joy Ride                        SR0000620038    UMG RECORDINGS, INC.
     1541 The Killers                             Losing Touch                    SR0000620038    UMG RECORDINGS, INC.
     1542 The Killers                             Neon Tiger                      SR0000620038    UMG RECORDINGS, INC.
     1543 The Killers                             Spaceman                        SR0000620039    UMG RECORDINGS, INC.
     1544 The Killers                             The World We Live In            SR0000620038    UMG RECORDINGS, INC.
     1545 The Killers                             This Is Your Life               SR0000620038    UMG RECORDINGS, INC.
     1546 The Police                              Behind My Camel                 SR0000021466    UMG RECORDINGS, INC.
     1547 The Police                              Bombs Away                      SR0000021466    UMG RECORDINGS, INC.
     1548 The Police                              Canary In A Coalmine            SR0000021466    UMG RECORDINGS, INC.
     1549 The Police                              Don't Stand So Close To Me      SR0000021466    UMG RECORDINGS, INC.
     1550 The Police                              Driven To Tears                 SR0000021466    UMG RECORDINGS, INC.
     1551 The Police                              Every Breath You Take           SR0000044862    UMG RECORDINGS, INC.
     1552 The Police                              King Of Pain                    SR0000044862    UMG RECORDINGS, INC.
     1553 The Police                              Man In A Suitcase               SR0000021466    UMG RECORDINGS, INC.
     1554 The Police                              Miss Gradenko                   SR0000044862    UMG RECORDINGS, INC.
     1555 The Police                              Mother                          SR0000044862    UMG RECORDINGS, INC.
                                                                                  SR0000044862;
     1556 The Police                              Murder By Numbers               SR0000047032    UMG RECORDINGS, INC.
     1557 The Police                              O My God                        SR0000044862    UMG RECORDINGS, INC.
     1558 The Police                              Shadows In The Rain             SR0000021466    UMG RECORDINGS, INC.
     1559 The Police                              Synchronicity I                 SR0000044862    UMG RECORDINGS, INC.
     1560 The Police                              Synchronicity II                SR0000044862    UMG RECORDINGS, INC.
     1561 The Police                              Tea In The Sahara               SR0000044862    UMG RECORDINGS, INC.
     1562 The Police                              The Other Way Of Stopping       SR0000021466    UMG RECORDINGS, INC.
     1563 The Police                              Voices Inside My Head           SR0000021466    UMG RECORDINGS, INC.
     1564 The Police                              Walking In Your Footsteps       SR0000044862    UMG RECORDINGS, INC.




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           Artist                                 Track                              Reg. No.         Plaintiff
                                                  When The World Is Running
                                                  Down, You Make The Best Of
     1565 The Police                              What's Still Around                SR0000021466     UMG RECORDINGS, INC.
     1566 The Police                              Wrapped Around Your Finger         SR0000044862     UMG RECORDINGS, INC.
     1567 The Rolling Stones                      Ain't Too Proud To Beg             N19036           UMG RECORDINGS, INC.
     1568 The Rolling Stones                      All About You                      SR0000018973     UMG RECORDINGS, INC.
     1569 The Rolling Stones                      All Down The Line                  N527             UMG RECORDINGS, INC.
     1570 The Rolling Stones                      All The Way Down                   SR0000049493     UMG RECORDINGS, INC.
     1571 The Rolling Stones                      Around And Around                  N45703           UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1572 The Rolling Stones                      Back Of My Hand                    SRu000586408     UMG RECORDINGS, INC.
     1573 The Rolling Stones                      Beast Of Burden                    SR0000001522     UMG RECORDINGS, INC.
     1574 The Rolling Stones                      Before They Make Me Run            SR0000001522     UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1575 The Rolling Stones                      Biggest Mistake                    SRu000586408     UMG RECORDINGS, INC.
     1576 The Rolling Stones                      Black Limousine                    SR0000029150     UMG RECORDINGS, INC.

     1577 The Rolling Stones                      Can't Be Seen                      SR0000130050     UMG RECORDINGS, INC.
     1578 The Rolling Stones                      Casino Boogie                      N527             UMG RECORDINGS, INC.
     1579 The Rolling Stones                      Cherry Oh Baby                     N31810           UMG RECORDINGS, INC.
     1580 The Rolling Stones                      Crackin' Up                        N45703           UMG RECORDINGS, INC.
     1581 The Rolling Stones                      Crazy Mama                         N31810           UMG RECORDINGS, INC.
     1582 The Rolling Stones                      Dance (Pt.1)                       SR0000018973     UMG RECORDINGS, INC.
     1583 The Rolling Stones                      Dance Little Sister                N19036           UMG RECORDINGS, INC.
     1584 The Rolling Stones                      Dancing With Mr D                  N8985            UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1585 The Rolling Stones                      Dangerous Beauty                   SRu000586408     UMG RECORDINGS, INC.
     1586 The Rolling Stones                      Dead Flowers                       SR0000221091     UMG RECORDINGS, INC.
     1587 The Rolling Stones                      Down In The Hole                   SR0000018670     UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1588 The Rolling Stones                      Driving Too Fast                   SRu000586408     UMG RECORDINGS, INC.
     1589 The Rolling Stones                      Emotional Rescue                   SR0000018670     UMG RECORDINGS, INC.
     1590 The Rolling Stones                      Everything Is Turning To Gold      SR0000004894     UMG RECORDINGS, INC.
     1591 The Rolling Stones                      Fade Not Away                      SR0000221091     UMG RECORDINGS, INC.
     1592 The Rolling Stones                      Far Away Eyes                      SR0000001522     UMG RECORDINGS, INC.
     1593 The Rolling Stones                      Feel On Baby                       SR0000050568     UMG RECORDINGS, INC.
     1594 The Rolling Stones                      Fight                              SR0000071259     UMG RECORDINGS, INC.
     1595 The Rolling Stones                      Fingerprint File                   N45703           UMG RECORDINGS, INC.
     1596 The Rolling Stones                      Fool To Cry                        N31810; N37862   UMG RECORDINGS, INC.
     1597 The Rolling Stones                      Had It With You                    SR0000071259     UMG RECORDINGS, INC.
     1598 The Rolling Stones                      Hand Of Fate                       N31810           UMG RECORDINGS, INC.
     1599 The Rolling Stones                      Hang Fire                          SR0000029150     UMG RECORDINGS, INC.
     1600 The Rolling Stones                      Heaven                             SR0000029150     UMG RECORDINGS, INC.
     1601 The Rolling Stones                      Hey Negrita                        N31810           UMG RECORDINGS, INC.

     1602 The Rolling Stones                      Highwire                           SR0000130050     UMG RECORDINGS, INC.
     1603 The Rolling Stones                      Hot Stuff                          N45703           UMG RECORDINGS, INC.
     1604 The Rolling Stones                      I Just Want To See His Face        N527             UMG RECORDINGS, INC.
     1605 The Rolling Stones                      I'm Free                           SR0000221091     UMG RECORDINGS, INC.
     1606 The Rolling Stones                      If I Was A Dancer (Dance Pt. 2)    SR0000025203     UMG RECORDINGS, INC.
     1607 The Rolling Stones                      If You Can't Rock Me               N19036           UMG RECORDINGS, INC.
                                                  If You Really Want To Be My
     1608 The Rolling Stones                      Friend                             N19036           UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1609 The Rolling Stones                      Infamy                             SRu000586408     UMG RECORDINGS, INC.
                                                  Intro: Excerpt from "Fanfare For
     1610 The Rolling Stones                      The Common Man"                    N45703           UMG RECORDINGS, INC.
     1611 The Rolling Stones                      It Must Be Hell                    SR0000050568     UMG RECORDINGS, INC.



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           Artist                                 Track                                 Reg. No.        Plaintiff
                                                                                        SR0000375854;
     1612 The Rolling Stones                      It Won't Take Long                    SRu000586408    UMG RECORDINGS, INC.
                                                  It's Only Rock 'N' Roll (But I Like
     1613 The Rolling Stones                      It)                                   N17181          UMG RECORDINGS, INC.
     1614 The Rolling Stones                      Jumpin' Jack Flash                    N45703          UMG RECORDINGS, INC.
                                                  Just My Imagination (Running
     1615 The Rolling Stones                      Away With Me)                         SR0000001522    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1616 The Rolling Stones                      Laugh, I Nearly Died                  SRu000586408    UMG RECORDINGS, INC.
     1617 The Rolling Stones                      Let It Bleed                          SR0000221091    UMG RECORDINGS, INC.
     1618 The Rolling Stones                      Let It Loose                          N527            UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1619 The Rolling Stones                      Let Me Down Slow                      SRu000586408    UMG RECORDINGS, INC.
     1620 The Rolling Stones                      Let Me Go                             SR0000018973    UMG RECORDINGS, INC.
     1621 The Rolling Stones                      Lies                                  SR0000001522    UMG RECORDINGS, INC.
     1622 The Rolling Stones                      Like A Rolling Stone                  SR0000221091    UMG RECORDINGS, INC.
     1623 The Rolling Stones                      Little Baby                           SR0000221091    UMG RECORDINGS, INC.
     1624 The Rolling Stones                      Little Red Rooster                    N45703          UMG RECORDINGS, INC.
     1625 The Rolling Stones                      Little T&A                            SR0000029150    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1626 The Rolling Stones                      Look What The Cat Dragged In          SRu000586408    UMG RECORDINGS, INC.
     1627 The Rolling Stones                      Love In Vain                          SR0000221091    UMG RECORDINGS, INC.
     1628 The Rolling Stones                      Loving Cup                            N527            UMG RECORDINGS, INC.
     1629 The Rolling Stones                      Luxury                                N19036          UMG RECORDINGS, INC.
     1630 The Rolling Stones                      Mannish Boy                           N45703          UMG RECORDINGS, INC.
     1631 The Rolling Stones                      Melody                                N31810          UMG RECORDINGS, INC.
     1632 The Rolling Stones                      Memory Motel                          N31810          UMG RECORDINGS, INC.
     1633 The Rolling Stones                      Miss You                              SR0000001522    UMG RECORDINGS, INC.
     1634 The Rolling Stones                      No Use In Crying                      SR0000030657    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1635 The Rolling Stones                      Oh No, Not You Again                  SRu000586408    UMG RECORDINGS, INC.
     1636 The Rolling Stones                      Pretty Beat Up                        SR0000050568    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1637 The Rolling Stones                      Rain Fall Down                        SRu000586408    UMG RECORDINGS, INC.
     1638 The Rolling Stones                      Respectable                           SR0000001522    UMG RECORDINGS, INC.
     1639 The Rolling Stones                      Rip This Joint                        N527            UMG RECORDINGS, INC.

     1640 The Rolling Stones                      Rock And A Hard Place                 SR0000130050    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1641 The Rolling Stones                      Rough Justice                         SRu000586408    UMG RECORDINGS, INC.

     1642 The Rolling Stones                      Ruby Tuesday                          SR0000130050    UMG RECORDINGS, INC.

     1643 The Rolling Stones                      Sad Sad Sad                           SR0000130050    UMG RECORDINGS, INC.
     1644 The Rolling Stones                      Send It To Me                         SR0000018973    UMG RECORDINGS, INC.
     1645 The Rolling Stones                      Shake Your Hips                       N527            UMG RECORDINGS, INC.
     1646 The Rolling Stones                      Shattered                             SR0000001522    UMG RECORDINGS, INC.
                                                                                        SR0000375854;
     1647 The Rolling Stones                      She Saw Me Coming                     SRu000586408    UMG RECORDINGS, INC.
     1648 The Rolling Stones                      She Was Hot                           SR0000050568    UMG RECORDINGS, INC.
     1649 The Rolling Stones                      She's So Cold                         SR0000018973    UMG RECORDINGS, INC.
     1650 The Rolling Stones                      Shine A Light                         N527            UMG RECORDINGS, INC.
     1651 The Rolling Stones                      Short And Curlies                     N19036          UMG RECORDINGS, INC.
     1652 The Rolling Stones                      Silver Train                          N8985; N8805    UMG RECORDINGS, INC.
     1653 The Rolling Stones                      Slave                                 SR0000029150    UMG RECORDINGS, INC.
     1654 The Rolling Stones                      Slipping Away                         SR0000221091    UMG RECORDINGS, INC.
     1655 The Rolling Stones                      Some Girls                            SR0000001522    UMG RECORDINGS, INC.
     1656 The Rolling Stones                      Soul Survivor                         N527            UMG RECORDINGS, INC.



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          Artist                                  Track                              Reg. No.        Plaintiff
     1657 The Rolling Stones                      Star Star                          N45703          UMG RECORDINGS, INC.
     1658 The Rolling Stones                      Stop Breaking Down                 N527            UMG RECORDINGS, INC.
     1659 The Rolling Stones                      Summer Romance                     SR0000018973    UMG RECORDINGS, INC.
     1660 The Rolling Stones                      Sweet Black Angel                  N527            UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1661 The Rolling Stones                      Sweet Neo Con                      SRu000586408    UMG RECORDINGS, INC.
     1662 The Rolling Stones                      Sweet Virginia                     N527            UMG RECORDINGS, INC.

     1663 The Rolling Stones                      Sympathy For The Devil             SR0000130050    UMG RECORDINGS, INC.
     1664 The Rolling Stones                      The Spider And The Fly             SR0000221091    UMG RECORDINGS, INC.
                                                                                     SR0000375854;
     1665 The Rolling Stones                      This Place Is Empty                SRu000586408    UMG RECORDINGS, INC.
     1666 The Rolling Stones                      Tie You Up (The Pain Of Love)      SR0000050568    UMG RECORDINGS, INC.
     1667 The Rolling Stones                      Till The Next Goodbye              N19036          UMG RECORDINGS, INC.
     1668 The Rolling Stones                      Time Waits For No One              N19036          UMG RECORDINGS, INC.
     1669 The Rolling Stones                      Too Much Blood                     SR0000050568    UMG RECORDINGS, INC.
     1670 The Rolling Stones                      Too Tough                          SR0000050568    UMG RECORDINGS, INC.
     1671 The Rolling Stones                      Tops                               SR0000029150    UMG RECORDINGS, INC.
     1672 The Rolling Stones                      Torn And Frayed                    N527            UMG RECORDINGS, INC.
     1673 The Rolling Stones                      Tumbling Dice                      N527            UMG RECORDINGS, INC.
     1674 The Rolling Stones                      Turd On The Run                    N527            UMG RECORDINGS, INC.
     1675 The Rolling Stones                      Undercover (Of The Night)          SR0000049493    UMG RECORDINGS, INC.
     1676 The Rolling Stones                      Ventilator Blues                   N527            UMG RECORDINGS, INC.
     1677 The Rolling Stones                      Waiting On A Friend                SR0000029150    UMG RECORDINGS, INC.
     1678 The Rolling Stones                      Wanna Hold You                     SR0000050568    UMG RECORDINGS, INC.
     1679 The Rolling Stones                      When The Whip Comes Down           SR0000001522    UMG RECORDINGS, INC.
     1680 The Rolling Stones                      Where The Boys Go                  SR0000018973    UMG RECORDINGS, INC.
     1681 The Rolling Stones                      You Gotta Move                     N45703          UMG RECORDINGS, INC.
                                                                                     N00000008793;
     1682 The Wailers                             400 Years                          RE0000860333    UMG RECORDINGS, INC.
                                                                                     N00000008793;
     1683 The Wailers                             All Day All Night                  RE0000860333    UMG RECORDINGS, INC.
                                                                                     N00000008793;
     1684 The Wailers                             Midnight Ravers                    RE0000860333    UMG RECORDINGS, INC.
                                                                                     N00000008793;
     1685 The Wailers                             Slave Driver                       RE0000860333    UMG RECORDINGS, INC.
     1686 The Weeknd                              A Lonely Night                     SR0000814318    UMG RECORDINGS, INC.
     1687 The Weeknd                              Acquainted                         SR0000779647    UMG RECORDINGS, INC.
     1688 The Weeknd                              All I Know                         SR0000814318    UMG RECORDINGS, INC.
     1689 The Weeknd                              Angel                              SR0000779647    UMG RECORDINGS, INC.
     1690 The Weeknd                              As You Are                         SR0000779647    UMG RECORDINGS, INC.
     1691 The Weeknd                              Attention                          SR0000814318    UMG RECORDINGS, INC.
     1692 The Weeknd                              Can't Feel My Face                 SR0000779648    UMG RECORDINGS, INC.
     1693 The Weeknd                              Dark Times                         SR0000779647    UMG RECORDINGS, INC.
     1694 The Weeknd                              Die For You                        SR0000814318    UMG RECORDINGS, INC.
     1695 The Weeknd                              Earned It (Fifty Shades Of Grey)   SR0000763624    UMG RECORDINGS, INC.
     1696 The Weeknd                              False Alarm                        SR0000779651    UMG RECORDINGS, INC.
     1697 The Weeknd                              In The Night                       SR0000779647    UMG RECORDINGS, INC.
     1698 The Weeknd                              Losers                             SR0000779647    UMG RECORDINGS, INC.
     1699 The Weeknd                              Love To Lay                        SR0000814318    UMG RECORDINGS, INC.
     1700 The Weeknd                              Nothing Without You                SR0000814318    UMG RECORDINGS, INC.
     1701 The Weeknd                              Often                              SR0000779647    UMG RECORDINGS, INC.
     1702 The Weeknd                              Ordinary Life                      SR0000814318    UMG RECORDINGS, INC.
     1703 The Weeknd                              Party Monster                      SR0000814318    UMG RECORDINGS, INC.
     1704 The Weeknd                              Prisoner                           SR0000779647    UMG RECORDINGS, INC.
     1705 The Weeknd                              Real Life                          SR0000779647    UMG RECORDINGS, INC.
     1706 The Weeknd                              Reminder                           SR0000814318    UMG RECORDINGS, INC.
     1707 The Weeknd                              Rockin'                            SR0000814318    UMG RECORDINGS, INC.



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          Artist                                  Track                                  Reg. No.       Plaintiff
     1708 The Weeknd                              Secrets                                SR0000814318   UMG RECORDINGS, INC.
     1709 The Weeknd                              Shameless                              SR0000779647   UMG RECORDINGS, INC.
     1710 The Weeknd                              Sidewalks                              SR0000814318   UMG RECORDINGS, INC.
     1711 The Weeknd                              Six Feet Under                         SR0000814318   UMG RECORDINGS, INC.
     1712 The Weeknd                              Starboy                                SR0000779650   UMG RECORDINGS, INC.
     1713 The Weeknd                              Stargirl Interlude                     SR0000814318   UMG RECORDINGS, INC.
     1714 The Weeknd                              Tell Your Friends                      SR0000779647   UMG RECORDINGS, INC.
     1715 The Weeknd                              The Hills                              SR0000814150   UMG RECORDINGS, INC.
     1716 The Weeknd                              True Colors                            SR0000814318   UMG RECORDINGS, INC.
     1717 The Weeknd, Daft Punk                   I Feel It Coming                       SR0000814318   UMG RECORDINGS, INC.
     1718 Tom Petty And The Heartbreakers         Don't Do Me Like That                  SR0000014497   UMG RECORDINGS, INC.
     1719 Tom Petty And The Heartbreakers         Even The Losers                        SR0000014497   UMG RECORDINGS, INC.
     1720 Tom Petty And The Heartbreakers         Here Comes My Girl                     SR0000014497   UMG RECORDINGS, INC.
     1721 Tom Petty And The Heartbreakers         Refugee                                SR0000014497   UMG RECORDINGS, INC.
     1722 U2                                                                          40 SR0000042944   UMG RECORDINGS, INC.
     1723 U2                                      11 O'Clock Tick Tock                   SR0000049959   UMG RECORDINGS, INC.
     1724 U2                                      A Day Without Me                       SR0000024547   UMG RECORDINGS, INC.
     1725 U2                                      Acrobat                                SR0000139599   UMG RECORDINGS, INC.
                                                  Alex Descends Into Hell For A
     1726 U2                                      Bottle Of Milk / Korova 1             SR0000139637    UMG RECORDINGS, INC.
     1727 U2                                      An Cat Dubh                           SR0000024547    UMG RECORDINGS, INC.
     1728 U2                                      Angels Too Tied To The Ground         SR0000614009    UMG RECORDINGS, INC.
     1729 U2                                      Another Time Another Place            SR0000024547    UMG RECORDINGS, INC.
     1730 U2                                      Babyface                              SR0000168310    UMG RECORDINGS, INC.
     1731 U2                                      Blow Your House Down                  SR0000704316    UMG RECORDINGS, INC.
     1732 U2                                      Breathe                               SR0000636812    UMG RECORDINGS, INC.
                                                  California (There Is No End To
     1733 U2                                      Love)                                 SR0000759092    UMG RECORDINGS, INC.
     1734 U2                                      Cedars Of Lebanon                     SR0000636812    UMG RECORDINGS, INC.
     1735 U2                                      Cedarwood Road                        SR0000759092    UMG RECORDINGS, INC.
                                                  Daddy's Gonna Pay For Your
     1736 U2                                      Crashed Car                           SR0000168310    UMG RECORDINGS, INC.
     1737 U2                                      Dirty Day                             SR0000168310    UMG RECORDINGS, INC.
     1738 U2                                      Down All The Days                     SR0000704316    UMG RECORDINGS, INC.
     1739 U2                                      Drowning Man                          SR0000042944    UMG RECORDINGS, INC.
     1740 U2                                      Endless Deep                          SR0000045401    UMG RECORDINGS, INC.
     1741 U2                                      Even Better Than The Real Thing       SR0000139599    UMG RECORDINGS, INC.
     1742 U2                                      Every Breaking Wave                   SR0000759092    UMG RECORDINGS, INC.
     1743 U2                                      Everybody Loves A Winner              SR0000704316    UMG RECORDINGS, INC.
     1744 U2                                      FEZ/Being Born                        SR0000636812    UMG RECORDINGS, INC.
     1745 U2                                      Fire                                  SR0000030452    UMG RECORDINGS, INC.
     1746 U2                                      Fortunate Son                         SR0000149209    UMG RECORDINGS, INC.
     1747 U2                                      Get On Your Boots                     SR0000636814    UMG RECORDINGS, INC.
                                                                                        SR0000049959;
     1748 U2                                      Gloria                                SR0000030452    UMG RECORDINGS, INC.
     1749 U2                                      Heaven And Hell                       SR0000704316    UMG RECORDINGS, INC.
                                                                                        SR0000030452;
                                                  I Threw A Brick Through A             SR0000024547;
     1750 U2                                      Window/A Day Without Me               SR0000614009    UMG RECORDINGS, INC.
     1751 U2                                      I Will Follow                         SR0000024547    UMG RECORDINGS, INC.
                                                  I'll Go Crazy If I Don't Go Crazy
     1752 U2                                      Tonight                               SR0000633458    UMG RECORDINGS, INC.
     1753 U2                                      Into The Heart                        SR0000024547    UMG RECORDINGS, INC.
     1754 U2                                      Iris (Hold Me Close)                  SR0000759092    UMG RECORDINGS, INC.
     1755 U2                                      Lady With The Spinning Head           SR0000704316    UMG RECORDINGS, INC.
     1756 U2                                      Lemon                                 SR0000168310    UMG RECORDINGS, INC.
     1757 U2                                      Like A Song...                        SR0000042944    UMG RECORDINGS, INC.
     1758 U2                                      Love Is Blindness                     SR0000139599    UMG RECORDINGS, INC.



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          Artist                                  Track                            Reg. No.        Plaintiff
     1759 U2                                      Lucifer's Hands                  SR0000762520    UMG RECORDINGS, INC.
     1760 U2                                      Magnificent                      SR0000636812    UMG RECORDINGS, INC.
     1761 U2                                      Moment Of Surrender              SR0000636812    UMG RECORDINGS, INC.
     1762 U2                                      Mysterious Ways                  SR0000139599    UMG RECORDINGS, INC.
     1763 U2                                      Mysterious Ways (Perfecto Mix)   SR0000704316    UMG RECORDINGS, INC.
                                                                                   SR0000042944;
     1764 U2                                      New Year's Day                   SR0000042525    UMG RECORDINGS, INC.
     1765 U2                                      No Line On The Horizon           SR0000625922    UMG RECORDINGS, INC.
     1766 U2                                      Numb                             SR0000168310    UMG RECORDINGS, INC.
     1767 U2                                      Oh Berlin                        SR0000704316    UMG RECORDINGS, INC.
     1768 U2                                      One                              SR0000139599    UMG RECORDINGS, INC.
     1769 U2                                      One (Apollo 440 Remix)           SR0000704316    UMG RECORDINGS, INC.
     1770 U2                                      Out Of Control                   SR0000024547    UMG RECORDINGS, INC.
     1771 U2                                      Paint It Black                   SR0000149209    UMG RECORDINGS, INC.
                                                                                   SR0000049959;
     1772 U2                                      Party Girl                       SR0000614062    UMG RECORDINGS, INC.
     1773 U2                                      Raised By Wolves                 SR0000759092    UMG RECORDINGS, INC.
     1774 U2                                      Red Light                        SR0000042944    UMG RECORDINGS, INC.
     1775 U2                                      Salomé                           SR0000704316    UMG RECORDINGS, INC.
     1776 U2                                      Satellite Of Love                SR0000704316    UMG RECORDINGS, INC.
     1777 U2                                      Seconds                          SR0000042944    UMG RECORDINGS, INC.
                                                  Shadows And Tall Trees /
     1778 U2                                      Saturday Matinee               SR0000024547      UMG RECORDINGS, INC.
     1779 U2                                      Sleep Like A Baby Tonight      SR0000759092      UMG RECORDINGS, INC.
     1780 U2                                      So Cruel                       SR0000139599      UMG RECORDINGS, INC.
                                                  Some Days Are Better Than
     1781 U2                                      Others                         SR0000168310      UMG RECORDINGS, INC.
     1782 U2                                      Song For Someone               SR0000759092      UMG RECORDINGS, INC.
     1783 U2                                      Stand Up Comedy                SR0000636812      UMG RECORDINGS, INC.
     1784 U2                                      Stay (Faraway, So Close!)      SR0000168310      UMG RECORDINGS, INC.
     1785 U2                                      Stories For Boys               SR0000024547      UMG RECORDINGS, INC.
     1786 U2                                      Sunday Bloody Sunday           SR0000042944      UMG RECORDINGS, INC.
     1787 U2                                      Surrender                      SR0000042944      UMG RECORDINGS, INC.
     1788 U2                                      The Crystal Ballroom           SR0000762520      UMG RECORDINGS, INC.
     1789 U2                                      The Electric Co.               SR0000024547      UMG RECORDINGS, INC.
     1790 U2                                      The First Time                 SR0000168310      UMG RECORDINGS, INC.
     1791 U2                                      The Fly                        SR0000139637      UMG RECORDINGS, INC.
     1792 U2                                      The Lounge Fly Mix             SR0000139637      UMG RECORDINGS, INC.
     1793 U2                                      The Miracle (Of Joey Ramone)   SR0000759092      UMG RECORDINGS, INC.
     1794 U2                                      The Ocean                      SR0000024547      UMG RECORDINGS, INC.
     1795 U2                                      The Refugee                    SR0000042944      UMG RECORDINGS, INC.
     1796 U2                                      The Troubles                   SR0000759092      UMG RECORDINGS, INC.
     1797 U2                                      The Wanderer                   SR0000168310      UMG RECORDINGS, INC.
                                                  This Is Where You Can Reach Me
     1798 U2                                      Now                            SR0000759092      UMG RECORDINGS, INC.
                                                  Treasure (Whatever Happened To
     1799 U2                                      Pete The Chop)                 SR0000042525      UMG RECORDINGS, INC.
                                                  Tryin' To Throw Your Arms
     1800 U2                                      Around The World               SR0000139599      UMG RECORDINGS, INC.
     1801 U2                                      Twilight                       SR0000024547      UMG RECORDINGS, INC.
     1802 U2                                      Two Hearts Beat As One         SR0000042944      UMG RECORDINGS, INC.
     1803 U2                                      Ultra Violet (Light My Way)    SR0000139599      UMG RECORDINGS, INC.
     1804 U2                                      Unknown Caller                 SR0000636812      UMG RECORDINGS, INC.
     1805 U2                                      Until The End Of The World     SR0000139599      UMG RECORDINGS, INC.
     1806 U2                                      Volcano                        SR0000759092      UMG RECORDINGS, INC.
     1807 U2                                      Where Did It All Go Wrong?     SR0000704316      UMG RECORDINGS, INC.
     1808 U2                                      White As Snow                  SR0000636812      UMG RECORDINGS, INC.




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           Artist                                 Track                        Reg. No.       Plaintiff
                                                  Who's Gonna Ride Your Wild
     1809 U2                                      Horses                       SR0000139599   UMG RECORDINGS, INC.
     1810 U2                                      Zoo Station                  SR0000139599   UMG RECORDINGS, INC.
     1811 U2                                      Zooropa                      SR0000168310   UMG RECORDINGS, INC.
     1812 Van Halen                               As Is                        SR0000711269   UMG RECORDINGS, INC.
     1813 Van Halen                               Beats Workin'                SR0000711269   UMG RECORDINGS, INC.
     1814 Van Halen                               Big River                    SR0000711269   UMG RECORDINGS, INC.
     1815 Van Halen                               Blood And Fire               SR0000711269   UMG RECORDINGS, INC.
     1816 Van Halen                               Bullethead                   SR0000711269   UMG RECORDINGS, INC.
     1817 Van Halen                               China Town                   SR0000711269   UMG RECORDINGS, INC.
     1818 Van Halen                               Honeybabysweetiedoll         SR0000711269   UMG RECORDINGS, INC.
     1819 Van Halen                               Outta Space                  SR0000711269   UMG RECORDINGS, INC.
     1820 Van Halen                               She's The Woman              SR0000711269   UMG RECORDINGS, INC.
     1821 Van Halen                               Stay Frosty                  SR0000711269   UMG RECORDINGS, INC.
     1822 Van Halen                               Tattoo                       SR0000695180   UMG RECORDINGS, INC.
     1823 Van Halen                               The Trouble With Never       SR0000711269   UMG RECORDINGS, INC.
     1824 Van Halen                               You And Your Blues           SR0000711269   UMG RECORDINGS, INC.
     1825 Weezer                                  Ain't Got Nobody             SR0000762642   UMG RECORDINGS, INC.
     1826 Weezer                                  Back To The Shack            SR0000746983   UMG RECORDINGS, INC.
     1827 Weezer                                  Cleopatra                    SR0000762641   UMG RECORDINGS, INC.
     1828 Weezer                                  Da Vinci                     SR0000762642   UMG RECORDINGS, INC.
     1829 Weezer                                  Eulogy For A Rock Band       SR0000762642   UMG RECORDINGS, INC.
     1830 Weezer                                  Foolish Father               SR0000762642   UMG RECORDINGS, INC.
     1831 Weezer                                  Go Away                      SR0000762642   UMG RECORDINGS, INC.
     1832 Weezer                                  I. The Waste Land            SR0000762642   UMG RECORDINGS, INC.
     1833 Weezer                                  I've Had It Up to Here       SR0000762642   UMG RECORDINGS, INC.
     1834 Weezer                                  II. Anonymous                SR0000762642   UMG RECORDINGS, INC.
     1835 Weezer                                  III. Return To Ithaka        SR0000762642   UMG RECORDINGS, INC.
     1836 Weezer                                  Lonely Girl                  SR0000762642   UMG RECORDINGS, INC.
     1837 Weezer                                  The British Are Coming       SR0000762642   UMG RECORDINGS, INC.
     1838 Will.I.Am                               #thatPOWER                   SR0000720059   UMG RECORDINGS, INC.
     1839 will.i.am                               Bang Bang                    SR0000720058   UMG RECORDINGS, INC.
     1840 will.i.am                               Far Away From Home           SR0000720058   UMG RECORDINGS, INC.
     1841 will.i.am                               Freshy                       SR0000720058   UMG RECORDINGS, INC.
     1842 will.i.am                               Geekin'                      SR0000720058   UMG RECORDINGS, INC.
     1843 Will.I.Am                               Gettin' Dumb                 SR0000720058   UMG RECORDINGS, INC.
     1844 Will.I.Am                               Ghetto Ghetto                SR0000720058   UMG RECORDINGS, INC.
     1845 will.i.am                               Good Morning                 SR0000720058   UMG RECORDINGS, INC.
     1846 will.i.am                               Great Times Are Coming       SR0000720058   UMG RECORDINGS, INC.
     1847 will.i.am                               Love Bullets                 SR0000720058   UMG RECORDINGS, INC.
     1848 will.i.am                               Reach For The Stars          SR0000720058   UMG RECORDINGS, INC.
     1849 will.i.am                               Smile Mona Lisa              SR0000720058   UMG RECORDINGS, INC.
     1850 Will.I.Am                               The World Is Crazy           SR0000720058   UMG RECORDINGS, INC.
     1851 will.i.am                               This Is Love                 SR0000703860   UMG RECORDINGS, INC.
     1852 Will.I.Am feat. Britney Spears          Scream & Shout               SR0000712989   UMG RECORDINGS, INC.
     1853 will.i.am ft. Afrojack                  Hello                        SR0000720058   UMG RECORDINGS, INC.
     1854 will.i.am ft. Chris Brown               Let's Go                     SR0000720058   UMG RECORDINGS, INC.
     1855 will.i.am ft. Miley Cyrus               Fall Down                    SR0000720058   UMG RECORDINGS, INC.
     1856 Yeah Yeah Yeahs                         Always                       SR0000720427   UMG RECORDINGS, INC.
     1857 Yeah Yeah Yeahs                         Area 52                      SR0000720427   UMG RECORDINGS, INC.
     1858 Yeah Yeah Yeahs                         Despair                      SR0000720427   UMG RECORDINGS, INC.
     1859 Yeah Yeah Yeahs                         Mosquito                     SR0000720427   UMG RECORDINGS, INC.
     1860 Yeah Yeah Yeahs                         Sacrilege                    SR0000720428   UMG RECORDINGS, INC.
     1861 Yeah Yeah Yeahs                         Slave                        SR0000720427   UMG RECORDINGS, INC.
     1862 Yeah Yeah Yeahs                         Subway                       SR0000720427   UMG RECORDINGS, INC.
     1863 Yeah Yeah Yeahs                         These Paths                  SR0000720427   UMG RECORDINGS, INC.
     1864 Yeah Yeah Yeahs                         Under The Earth              SR0000720427   UMG RECORDINGS, INC.
     1865 Yeah Yeah Yeahs                         Wedding Song                 SR0000720427   UMG RECORDINGS, INC.



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                                                     EXHIBIT I - SOUND RECORDINGS

          Artist                                  Track                     Reg. No.       Plaintiff
     1866 Yeah Yeah Yeahs ft. Dr. Octagon         Buried Alive              SR0000720427   UMG RECORDINGS, INC.
     1867 YG                                      Down Bitch                SR0000796787   UMG RECORDINGS, INC.
     1868 YG                                      Get Out Yo Feelin's       SR0000796787   UMG RECORDINGS, INC.
     1869 YG                                      I Ain't Lyin              SR0000796787   UMG RECORDINGS, INC.
     1870 YG                                      I Be On                   SR0000796787   UMG RECORDINGS, INC.
     1871 YG                                      I Know                    SR0000796787   UMG RECORDINGS, INC.
     1872 YG                                      I'm A Thug Pt. 2          SR0000796787   UMG RECORDINGS, INC.
     1873 YG                                      One Time Comin'           SR0000793018   UMG RECORDINGS, INC.
     1874 Zedd                                    Codec                     SR0000709927   UMG RECORDINGS, INC.
     1875 Zedd                                    Push Play                 SR0000732597   UMG RECORDINGS, INC.




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